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                   Exhibit A
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          Letter to an IRS Director
           Seven-minute video introduction:
                   https://youtu.be/DXOWRN19i-4

                            Full video exposé:
                    https://youtu.be/KDlFZF3RyhE

                      Download the full PDF:
  https://www.scribd.com/document/439385879/Letter-to-an-IRS-Director

                    Religion Unplugged article:
https://religionunplugged.com/news/2019/12/16/whistleb
  lower-exposes-100-billion-stockpile-by-mormon-church

                       Washington Post article:
https://www.washingtonpost.com/investigations/mormon-
 church-has-misled-members-on-100-billion-tax-exempt-
             investment-fund-whistleblower-
     alleges/2019/12/16/e3619bd2-2004-11ea-86f3-
                3b5019d451db_story.html
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                            Executive Summary
  Ensign Peak Advisors, Inc. (EPA) is ostensibly a 501c3 supporting organization to the
  Corporation of the President of the Church of Jesus Christ of Latter-day Saints (COP).
  However, it is functionally not so. Its owned assets under management (OAUM) have
  grown from $10 billion to ~$101 billion in 22 years without making a single religious,
  educational or charitable distribution. It has garnered tens of billions of dollars in tax
  breaks from the Internal Revenue Service (IRS) without any activity towards any tax-
  exempt mission. In addition, it has engaged in two unlawful distributions per its Articles of
  Incorporation (AOI) and the Internal Revenue Code (IRC). Top COP and EPA leaders have
  made public statements concerning church finances and reserves that are disingenuous,
  specious, and false for the purpose of misleading the IRS, church members, and the public
  because they were afraid of losing their tax-exempt status. Finally, as will be shown, the
  COP fails a common-sense commensurate test, which should disqualify it and all its
  supporting organizations—especially EPA—from tax-exempt status.

  Specific Grievances:

       1)    EPA has made 0 religious, educational, or charitable distributions in 22 years.
       2)    EPA unlawfully distributed $600 million to bail out a for-profit business in
             violation of EPA’s AOI and of IRS rules.
       3)    EPA unlawfully distributed $1.4 billion towards a non-legitimate purpose as per
             EPA’s AOI and per IRS rules.
       4)    These two distributions may also have been unlawful on the basis that they
             inured a trustee, who is also the sole proprietor of the COP and ultimate owner
             of the two for-profit businesses benefited thereby.
       5)    The COP created EPA intentionally to defraud or evade taxes and to hide the
             magnitude of its growing assets from the IRS, the COP’s members, and the public.
       6)    Representations from trustees and directors of the COP and EPA indicate a
             sustained intent to deceive the IRS, church members, and the public regarding
             their use (and non-use) of tithing dollars as well as the size and purpose of their
             reserves; they did benefit from that deceit materially, which is the basis of fraud.
       7)    Despite any affirmations to the contrary, EPA does not behave as an “integrated
             auxiliary,” except on paper.
       8)    EPA is not “charitable” in the generally accepted legal sense.
       9)    EPA has violated the public trust.

  Call to Action for the IRS:

      10) Conduct a full and formal investigation of the COP’s and EPA’s balance sheets,
            charitable activities, and legal/governance structures.
      11) Exact taxes and penalties and mandatory interest for inactivity, disqualified
            distributions, and any unpaid capital gains.
      12) Perform and publicize the results of a commensurate test on the COP together
            with all its supporting organizations, including EPA.
      13) Render a judgment as to whether the COP and/or EPA should lose their 501c3
            tax-exempt status for a time or indefinitely.
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       14) Prevent capital flight by seizing or freezing EPA assets, pending investigations.
       15) Impose any other fines or sanctions, or further relief to the public.

  Call to Action for Congress and the Senate:

       16) Provide the COP and EPA leadership an opportunity to publicly explain EPA’s
           acceptance of tax breaks without any legitimate activity in 22 years.
       17) Hold the COP and EPA leaders personally accountable for their public
           misstatements.
       18) Require each 501c3 classified as a religion (or an integrated auxiliary to one)
           above a threshold size to disclose and file to the IRS everything that any typical
           501c3 must disclose and file—including distributions or a lack of distributions.
       19) Classify supporting organizations to (religious) public charities above a
           threshold size as private foundations for the purposes of regulating minimum
           distributions and reporting.
       20) Protect smaller, well-behaving religious organizations from cumbersome
           regulations or additional red tape that seem to be necessary for behemoth,
           unchecked religions.
       21) Create a “Church-Offender Registry” listing corporations and offending trustees.

  Call to Action for the COP/EPA:

       22) Stipulate that you’ve not given a dollar to a charitable purpose in 22 years. Come
           clean. You don’t need to wait for an investigation to own up to this behavior.
       23) Apologize to membership for hoarding $124 billion of widow’s mites.
       24) Become transparent with all finances. Reveal other stores of hidden wealth.
       25) Commit to distributing the minimum of 5% of investments/assets each year, as
           all typical private foundations must.
       26) Apologize for deliberately misrepresenting the church’s financial position to
           make it seem smaller than it was through carefully worded statements, and for
           decades of illusive and dodgy representations about how moneys are spent.
       27) Cooperate with the IRS. Pay the fines immediately. Adopt honest governance
           structures for your supporting organizations in which the supporting and
           supported are actually “attentive” and “responsive.”
       28) Repent of fiscal gluttony. Right the wrong by being generous with the IRS and
           the public.

  Call to Action for the COP membership:

       29) Learn where your tithing goes (and does not go).
       30) Hold COP leadership to the same standard of full truth and honesty in their
           dealings with the IRS that the COP requires of members to attend a temple.

  Call to Action for the Public:

       31) Contact your Senators and Representatives; pressure them to legislate.
       32) Use social media to share your views concerning this whistleblower report.


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                            From the Author
      Several months ago, someone from Ensign Peak Advisors asked me to write an
      exposé on its practices. I learned that the Mormon Church (COP) brings in around $7
      billion per year in tithing donations and stockpiles $1–$2 billion in its reserves each
      year. With more than $7 billion of additional growth from investment returns per
      year and having garnered tens of billions in tax breaks from the public, I was
      troubled that a church could amass more than $100 billion dollars with essentially
      no one knowing. Of course, the story turned out to be much bigger and more
      serious.

      Misapplication of funds.
      Tax evasion.
      Fraud.
      It’s all in there.

      “Our only responsibility is to the truth,” a hero of mine has said.

      To this ugly, tar-covered truth I am also bound. Trust me, I would infinitely prefer to
      publish another article on the mechanisms of small-molecule catalysis or write
      another case to be used in business school.

      I wrote every word and composed every exhibit of “Letter to an IRS Director” and
      solely produced the online videos that go by the same name. I did so with
      information that the whistleblower freely supplied, and with his permission I filed
      his claim (Form 211), notarized cover letter, and my full analysis to the IRS
      Whistleblower Office from my home state, which was done under penalty of perjury.
      And there it might never see the light of day for a good seven years.

      On behalf of all the widows and orphans who shouldn’t have to wait seven years,
      and to whatever hearts at the COP and EPA these words may someday prick:

      For I was an hungred, and ye gave me no meat. I was thirsty, and ye gave me no
      drink. I was a stranger, and ye took me not in.



NOTE: The original page 4 (of 74) that was sent to the IRS had
      personal information in it that could be used to identify
      the whistleblower. This page serves to replace what I
      wrote on the original page 4.

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 1                    Letter to an IRS Director
 2               Blowing the Whistle on the Mormon Gigachurch
 3
 4   The largest branch of modern Mormonism, the Utah sect that in the financial world
 5   goes by the Corporation of the President of the Church of Jesus Christ of Latter-day
 6   Saints1 (COP), is not unlike your typical megachurch; it needs a place to park its cash.
 7
 8   Megachurch scandals involving private jets, offshore islands and imprudent
 9   investments are a dime a dozen, but not when it comes to gigachurches—because
10   there is only one of those. And they no longer like being called “Mormon.”
11
12   So where does the COP—also called “Mormons, Inc.” by Time Magazine in August
13   19972—park its leftover cash? Ensign Peak Advisors, Inc.3 (EPA), a so-called 501c3
14   organization. Rightly-called 501c3 organizations make good on their obligation to
15   perform a public service that governments can’t or shouldn’t get done on their
16   own—like feeding the poor, clothing the naked, sheltering the homeless, or baptizing
17   the dead. And for their charitable services, you, Jane and John Q. Taxpayer, give them
18   a break on their donations and their investment returns.
19
20   No one knows how much you gave the COP, nor how much you gave their members
21   when they paid tithes to it; they are too big. But you should know how much you
22   gave their EPA slush fund since the COP created it in September 1997: at least $18.4
23   billion.a What did they do with this tax break? “Nada,” said a whistleblower. What
24   have they done with the rest of Mormon, Inc.’s leftovers since 1997? Zilch. And how
25   big are those leftovers now? $124 billion (Exhibit Ab).
26
27   At this point, you might be asking: “I’m no economist, but is $124 billion reasonable
28   for a global church?” Let’s put this into perspective. Harvard University has its land,
29   its buildings, its intellectual property, etc., which is worth X. Then, it has its
30   endowment, which is worth $39.2 billion.4 It draws down and replenishes its
31   endowment to accomplish its mission—with a liability stream, a schedule of
32   activities, plans for use, and a way to model the future.
33
34   The COP has its 18,000 churches,5 217 temples,6 dozens of office and apartment
35   buildings,7 four universities,8 three media companies,9 two tabernacles,10 and a
36   seagull in a for-profit mall, which is worth X. Then, it has its “endowments,” one of



     a Various methods for determining this figure are discussed in Exhibit Q.


     b Exhibit A contains the full financial picture of EPA as of February 2018. Various

     funds have grown since that time via capital gains, interest income, and capital
     contributions from the COP. The $124 billion figure is the whistleblower’s best
     present approximation.


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37   which, EPA, is worth $124 billion.c,11 The COP does not draw down on it, and it has no
38   mission—no liability stream, no schedule of activities, no plans for use, and no efforts
39   to even model the future.
40
41   “To put it mildly, EPA is the reserve of the reserves,” according to the whistleblower.
42   The COP has many legal entities and affiliates (Exhibit B), which have their own vast
43   monetary assets: working capital, treasuries, endowments, and reservesd (Exhibit
44   H.2). When capital exceeds defensible limits in those areas, they soak up less tithing
45   in the next year and more tithing surplus flows to EPA (Exhibit C).e There it gets
46   merged, sliced, and diced into portfolios and limited liability companies (LLCs)
47   designed to fly under radars and reporting limits. More on that later.
48
49   According to the U.S. Internal Revenue Code, 501c3 private foundations must
50   distribute at least five percent of the fair-market value of their total assets,12 or face a
51   severe tax penalty. Moreover, the foundation’s outflows must go to the dedicated
52   charitable purpose for which the foundation obtained its tax-exempt status—its
53   “exempt purpose.”
54
55   EPA is a 501c3 and 509a3 supporting organization.13 It made 0 distributions in the
56   first 12 years of its existence. It has made 0 distributions in the past five years. It did
57   have two outflows in 22 years. Neither was planned, and neither went to the
58   furtherance of EPA’s exempt purpose nor that of its parent.
59
60   Before going into further financial details, this analysis and exposé is not a legal
61   conclusion; notwithstanding, it has been informed by considerable legal opinion
62   prior to whistleblower action. Any legal wrongdoing is for the IRS, the SEC, and
63   Senate Oversight Committees to determine through subpoenas, hearings, and
64   depositions. “My job is to tell the truth as fully and carefully as I can. The COP, EPA,
65   and their apologists may attack me, but they can’t attack the facts,” declared the
66   whistleblower.
67

     c Technically, EPA itself currently owns between $99 and $101 billion, but it also

     closely manages the assets in a broader allocation mandate that includes Agricultural
     Reserves, Inc. (ARI) and Property Reserves, Inc. (PRI), which brings its total assets-
     under management (AUM) to approximately $124 billion at years-end 2019—the
     “EPA Universe.”

     d For example, Deseret Management Company (DMC) Reserve Trust, Deseret Trust

     Company (DTC) reserves, Bonneville Holding Corporation, The Church of Jesus Christ
     of Latter-day Saints Foundation, City Creek Reserve, Inc. (CCRI), Perpetual Education
     Fund (PEF), HRI, SLR, ARI, and PRI…and how many more?

     e All of the owned-assets-under-management (OAUM) in EPA are purchased directly

     from recent tithing surplus or accrue from the capital gains in having invested
     tithing. They do not come from any other source including any for-profit business,
     affiliates, universities, etc.
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68   The first unplanned outflow was in 2009. While the federal government was bailing
69   out the COP’s preferred bank, Zions Bancorporation,14 as part of the Troubled Asset
70   Relief Program (TARP), the COP was silently bailing out Beneficial Financial Group
71   (BFG) to the tune of $600 million (Exhibit D).15 The value of EPA’s assets in 2009,
72   even after the crash of 2008, was $35 billion. EPA, if acting in the spirit of a private
73   foundation, should have spent at least $1.8 billion in 2009 on its exempt purpose—or
74   alternatively pay a 30% excise penalty on that year’s investment growth to the IRS
75   for not performing sufficient public service. Instead, EPA paid $600 million
76   exclusively using tithing dollars,f presumably to avoid the publicity and humiliation
77   of a failed, church-owned, for-profit life insurance company. Is this outflow to BFG
78   part of the dedicated charitable purpose for which EPA obtained its tax-exempt
79   status? No.
80
81   The second unplanned outflow was a series of payments between 2010 and 2014.
82   EPA paid $1.4 billion (Exhibit D) to shore up cost over-runs (also on the heels of the
83   financial crisis) in the construction of the opulent City Creek Mall16—with an award-
84   winning retractable roof,17 luxury storefronts, and a fish-filled river. Raising capital
85   from the usual sources of project finance would have been untenable.g From 2010 to
86   2014, if EPA were honest in its dealings and comparable to peer foundations, it
87   should have spent at least $9.8 billion on its exempt purpose. EPA paid $1.4 billion
88   exclusively using tithing dollarsh on a for-profit mall. Is the religious, educational, or
89   charitable activity of the mall >95% per IRS requirements? No.18

     f This check was cut from the EPA Treasury account, not from any liquidation of

     allocated capital. Only never-invested tithing surplus enters the EPA Treasury
     account.

     g All capital has a cost, except when it doesn’t. 100% of EPA’s capital comes from

     tithing in excess of the church’s operating budget together with returns from
     investing that tithing. Rather than raise money from capital markets, at a cost of
     equity, or from banks, at a cost of debt, they raised it from tithing. So, the project’s
     cost of capital was zero. It may never have been economically viable without that free
     capital.

     h These checks were cut from the EPA Treasury account, not from any liquidation of

     allocated capital. Only never-invested tithing surplus enters the EPA Treasury
     account. The COP-owned Ensign Magazine published in 2006 referring to the City
     Creek Mall: “No tithing funds will be used in the redevelopment.”56

     The COP-owned newspaper, Deseret News, reported in 2007: “Money for the project
     is not coming from LDS Church members' tithing donations. City Creek Center is
     being developed by Property Reserve Inc., the church's real-estate development arm,
     and its money comes from other real-estate ventures.”57 It is true that PRI does
     receive some money from other real-estate ventures, but it also receives most of its
     money from tithing surplus (Exhibit C). It is true that PRI did finance some of the
     City Creek Mall, but most of the financing came from EPA using exclusively never-
     invested tithing dollars ($1.4 billion).
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 90
 91   EPA distributed 0% of its assets in each of the other sixteen years since it was hastily
 92   incorporated on September 29, 1997—one reactionary month after the Time
 93   Magazine cover story broke. Despite whatever public affirmations EPA or the COP
 94   might make, EPA does not support its “supported 501c3.” Not once has EPA given
 95   even one farthing in 22 years to anything charitable, religious, educational, or
 96   humanitarian. It has only enriched itself. It exists 1) to avoid taxes, 2) to obscure the
 97   enormity and absurdity of mining millions of mites from its membership, and 3) to
 98   hide that it apparently can’t come up with anything good to do with the money.19
 99   This is true, as demonstrated by its actual financial behavior and incongruence with
100   its own Articles of Incorporation (AOI) (Exhibit E).i,j A “commensurate test”20 would
101   confirm this assertion (Exhibit F).



      Five years later, Keith McMullin, a member of the Corporation of the Presiding
      Bishopric (CPB) at the time, reportedly said to the Salt Lake Tribune: “not one penny
      of tithing goes to the church's for-profit endeavors. Specifically, the church has said
      no tithing went toward City Creek Center.” Checks from EPA’s Treasury containing
      only never-invested tithing had already been written by the time Mr. McMullin made
      this intentionally false public statement.

      Finally on this point, the COP promulgates the belief among its members and
      apologists that the church keeps its “sacred tithing funds” and investments in
      separate places. No semblance of this belief is true. EPA receives tithing surplus
      regularly (even weekly); the next activity is always to integrate that surplus into the
      entire investment portfolio, or the “EPA Universe.”

      i According to the Articles of Incorporation, Article III.C, “[EPA’s] property is

      irrevocably dedicated to religious, educational, and charitable purposes meeting the
      requirements for exemption provided by Section 501c3 of the Internal Revenue
      Code” (emphasis added). Nothing “religious, educational, or charitable” happens at
      City Creek Mall, certainly nothing close to 95% of its total use,18 and in no sense
      qualifies as an exempt purpose for EPA or the COP. The City Creek Mall is for-profit.
      Internal documents show that EPA did not invest in the City Creek Mall (EPA has no
      ownership in the mall; there is no investment for City Creek Mall on EPA’s balance
      sheet), so it was an outflow or distribution to PRI and not an investment to EPA. This
      outflow violates the “irrevocable dedication” mandated by the Articles of
      Incorporation.

      j Articles of Incorporation, Article III.C also states “no part of the net income or assets

      of this corporation shall ever inure to the benefit of any trustee, officer or member
      thereof or to the benefit of any private person.” Money flowing out of EPA and into
      the COP does inure to one of the trustees of EPA, which is expressly forbidden. This is
      because the COP is a “corporation sole” or “sole proprietorship” with the single
      owner currently being Mr. Russell M. Nelson, who is also a trustee of EPA. The
      original three trustees of EPA were Gordon B. Hinckley, Robert D. Hales and Henry B.
      Eyring in 1997 (Exhibit E.2). Two of the three have deceased. The current First
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102
103   In a slide from EPA’s New Staff Orientation deck from October 2013 (Exhibit G),
104   leadership explained that EPA has four charges, per the COP. These charges are: 1) to
105   fund prophetic initiatives, 2) to supplement the operating budget of the COP, 3) to
106   backstop the pension plan and affiliated entities,k and 4) to post collateral for COP
107   operations.
108
109   But a slide from EPA’s IPC preparation deck from March 2013 (Exhibit D) revealed
110   that there have only ever been three listed prophetic initiatives: the LDS Conference
111   Center,21 proliferation of temples, and the City Creek Mall. The slide also shows that
112   $0 was distributed for building the conference center and $0 for temples.l Bailing out
113   BFG was not prophetic; it was reactionary. The same is true of the City Creek Mall.
114   Neither outflow was allowed by the AOI.
115
116   “In 2010, I asked Roger Clarke, EPA’s Managing Director, point blank: How has EPA
117   never funded a prophetic initiative in the past 13 years, despite telling its employees
118   that its role is firstly to do so?” the whistleblower related.
119
120   Mr. Clarke responded by saying that he didn’t know what EPA would be used for and
121   that he didn’t know whether the Lord would ever reveal what it would be used for to
122   the Prophet.m,22 In the past couple of years, Mr. Clarke has started saying that this
123   money would be used in the “Second Coming.”n,o,23 Can any tax-exempt religious


      Presidency consists of Russell M. Nelson, Dallin H. Oaks, and Henry B. Eyring; the last
      of which was the same (founding) trustee in 1997. It is odd that the Articles of
      Incorporation expressly state that The Church of Jesus Christ of Latter-day Saints is
      the supported organization for EPA, an “integrated auxiliary supporting
      organization,” but that it can’t give anything to a trustee—but they are one and the
      same because the trustee is the sole proprietor. This structure is probably unique
      among all 501c3 charities and hasn’t been tested in the Courts, or from what the
      whistleblower has gathered, even disclosed to the IRS.

      k An earlier version of Exhibit G used in a March 2013 Senior Leadership meeting

      (Exhibit D) shows that this third bullet point used to be two separate bullet points:
      “backstop the pension plan” and “backstop the taxable entities.” When it was brought
      to the attention of the presenting senior leader that backstopping a for-profit
      business without a religious, educational or charitable purpose ran contrary to the
      Articles of Incorporation, the slide was changed to replace the term “taxable entities”
      with “affiliated entities” rather than adhere to the true meaning.

      l All temples and the LDS Conference center were fully funded from the operating

      budget of the COP.

      m The CEO of the COP is called a “Prophet.”


      n Most Mormons believe in a literal Second Coming of Christ, when He would gather

      together His chosen people and preserve them from global burning on the condition
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124   institution hoard contributions into the hundred billions—or even trillions by the
125   time Jesus might come again—making no charitable distributions along the way?p
126   One would think that Jesus (in the sky!) wouldn’t need to work very hard to convince
127   investors of his creditworthiness should he return and need money. How much does
128   “Scientology’s EPA” get to stow away for when Xenu, dictator of the Galactic
129   Confederacy, might return?
130
131   In all seriousness, will the federal government allow all denominations (Christian,
132   Mormon, Islam, etc.) to stockpile and grow tax-free religious war chests to be used in
133   some futuristic battle between Gog and Magog?24 What keeps zealots from following
134   the COP’s example, creating their own EPA invisible to the IRS, and having in 22
135   years $100+ billion to fund their passions in perpetuity? This is a clarion call to
136   policy makers: there might be a limit to how much one can serve both God and
137   mammon.25
138
139   The second of EPA’s four charges from the COP is to supplement the operating
140   budget of the COP/CPB. This has never happened. Money flows into the EPA


      that they had paid a full tithing to the Mormon Church throughout their lives. In
      Mormon culture, this is sometimes referred to as “paying your fire insurance”
      premium. Over the pulpit, tithing is taught as a “temporal blessing” where the
      “windows of heaven” pour out tangible blessings to the faithful.

      It is therefore somewhat ironic that church lawyers, Kirton & McConkie, caused the
      annual tithing settlement form in 2016 to start including the words: “The Church
      provided no goods or services in consideration, in whole or in part, for the
      contributions detailed below but only intangible religious benefits” (emphasis
      added). The whole truth might also include a turn on that phrase: “The Church may
      not provide any goods or services, in whole or in part, now or in the future with the
      money donated.”

      o In April 2018, the Deseret News reported: “‘Dowry is not the Lord’s way’: In Kenya,

      LDS President Nelson says tithing breaks poverty cycle.” Whether tithing breaks the
      poverty cycle or extends it, as a regressive tax, it is somewhat ironic that some EPA
      leaders now view EPA as a “dowry” that needs to be worthy of the “bridegroom”
      (Christ, see Ephesians 5:22-33 and Revelation 21:2,9–10). As if Christ would choose
      his “bride” (church) based on the size of an unused dowry.

      p It is as if the COP has taken the “parable of the talents,” far too literally. As the story

      goes, one servant was chastised for hiding his entrusted money in the earth. He was
      “wicked and slothful” for not investing instead. Would the master be well pleased
      with the COP for entombing its investments in a mountain peak? Isn’t the deeper
      meaning of this parable to use your investment returns the way a master would want
      you to use them—feeding the hungry, clothing the naked, and sheltering the
      homeless? Neither tithing nor invested tithing returns have ever left EPA for a
      religious, educational or charitable purpose.


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141   Treasury account where it accumulates until a formal allocation to EPA’s portfolio
142   funds is made. No church department or function has ever made a capital call to EPA
143   and EPA has never had any schedule for any potential capital call for an operating
144   budget—ever.q
145
146   What about the third of EPA’s four charges from the COP: backing the pension for
147   COP employees and backstopping affiliated entities such as Brigham Young
148   University (BYU), who might need a supplement from time to time? The COP never
149   shared pension liability data directly with EPA. Even so, some EPA employees
150   speculated in 2019 that the liability hovered around $2 billion. The COP has more
151   than enough coverage with its existing treasuries and assets without needing a
152   backstop from EPA. Notwithstanding, EPA could easily stabilize underfunded
153   pension accounts. It has not. Could EPA’s allocated capital have helped church
154   universities or other affiliates stabilize or grow? Yes. It has not.r EPA is a 501c3 black
155   hole that swallows the widow’s mite and never burps.

      q According to plenty of value systems, the COP does a lot of good in the world. One

      should not discount or pass judgment on the value systems of such persons. But EPA
      does have a separate and distinct responsibility to perform at least some charitable
      activities. If you want to found a church and declare a doctrine that implies caching
      its offerings for use in a future century, by all means, go for it. But don’t expect a tax
      break on your gains or on the donations of your contributors. You are not exempt.

      r Before 2015, EPA offered “mutual fund-like” services to BYU and several other

      church affiliates, including for-profit entities, meaning that they could purchase a
      share of various EPA funds. Because BYU receives federal funding, it had to be
      audited by an independent third-party, in this case Deloitte & Touche. In order for
      Deloitte to verify the market value of BYU’s endowment, it needed to verify the
      market value of EPA’s funds. This was unacceptable to the COP/CPB because the COP
      did not want anyone at Deloitte to discover the true size of EPA. So, the COP leaned
      on Mark Stevens, a Mormon and Audit Director at Deloitte, to vouch for the audit
      without letting any auditors see, which he did for multiple years. Eventually, Deloitte
      felt uncomfortable with the arrangement; it did not represent the industry’s “best
      practices” (for obvious reasons). In response, EPA painstakingly stripped out all
      affiliate interests in all EPA funds and created separate accounts dedicated to affiliate
      money so that independent auditors would see no further into EPA; i.e., they would
      audit a cup of water instead of an entire ocean.

      EPA still manages those “co-mingled funds,” (Exhibit H.1 shows these funds before
      the restructuring in 2014); as seen in Exhibit P, they sum to $1.8 billion.

      Some affiliates (but not all) include: Deseret Trust Company’s “donor advised funds”
      (an estate-transfer or inheritance solicitation business), other university
      endowments, the Tabernacle Choir at Temple Square, Bonneville Holding Corp, LDS
      Charities, Beehive Clothing, the Church Educational System, and others. See Exhibit
      B.


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156
157   To wrap up this point, EPA tells its own employees that it is a tax-exempt
158   organization because 1) it makes withdrawals for prophetic initiatives, (which does
159   not happen), 2) it supplements the COP operating budget (which does not happen),
160   3) it backstops the pension plan and church affiliates (which does not happen, and
161   backstops are not a type of distribution), and because 4) it posts collateral for COP
162   operations when asked (this non-distribution activity does happen to an insignificant
163   degree [Exhibit D; $200 million]). What is the purpose of setting up a 501c3
164   “supporting” organization that has never done (and probably will never do) any
165   charitable supporting? Evasion.s
166
167   In 2011, Newsweek stated that the LDS Church “resembles a sanctified multinational
168   corporation—the General Electric of American religion, with global ambitions and an
169   estimated net worth of $30 billion.”26 It turns out that when that article was written,
170   EPA alone held more than $41 billion. Bloomberg’s rigorous methodology got closer
171   in the next year with an estimated net worth of $40 billion.27 At that time, the
172   Mormon prophet’s no-one-is-revealing-what-to-do-with-all-this-cash fund was $47
173   billion, $7 billion more than the Bloomberg estimation—and that is before counting
174   any land, churches, temples, universities, for-profit businesses, media companies, an
175   iconic global missionary program, or anything else at all.28 How can Newsweek and
176   Bloomberg be, in all likelihood, an order of magnitude off?
177
178   After the Time article was published, the COP’s public affairs office responded that
179   the financial figures in the article were “grossly exaggerated.”29 That statement set
180   the tone for future doublespeak, downplay, and denials over the next two
181   decades.t,z,30
182
183   In a Deseret Newsu,31 article from June 2016, Mr. Dallin H. Oaks boasted the total
184   contributions of the Mormon Church to all humanitarian aid efforts to be $40 million
185   per year on average over 30 years (nominally $1.2 billion in total). What is the COP’s
186   purpose in announcing that it donates annually what amounts to only a few
187   hundredths of 1% of its “reserve of the reserves”?32 Could it be to anchor the public
188   and/or the IRS into thinking that the COP must only have a small fraction of its true

      s Citing Restatement (Second) of Trusts Section 377 (1959), the court stated that it is

      axiomatic that a charitable trust is invalid if it is created for an illegal purpose. If that
      sole purpose is to defraud or evade taxes, then one could argue that the charity was
      created for an illegal purpose.

      t To be fair to the public affairs department, they would have had no way to know

      how much money was in EPA at the time or how much the COP was regularly taking
      in from tithing. But that is no absolution of sin. The CEO of the COP is responsible for
      such statements that he knows to be disingenuous.

      u Deseret News is a wholly owned subsidiary of Deseret Management Corporation,

      which is owned by the COP.


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189   assets? “Only the apostles in the First Presidency are in the Investment Policy
190   Committee (IPCv, Exhibit I); not even the other apostlesw are allowed to know the
191   total assets that the COP parks at EPA,” according to the whistleblower.x
192
193   In May 2018, Gérald Caussé (the highest ranking Bishop of the Mormon Church,
194   President of the CPB,y and member of the IPC) published and spoke on the subject of
195   “Financing Faith.”33 He made several comments that are disingenuous, misleading, or
196   outright false. For example, “Ultimately, all funds earned by the Church’s investments
197   go back to supporting its mission to invite souls to come unto Christ.” EPA is full of
198   funds/proceeds that come from invested tithing, $0 of which has gone to helping
199   souls come unto Christ. $2 billion did go to a failing business and a mall, which are
200   not soul-saving activities. $0 and “all” are not synonyms. Or is Mr. Caussé

      v The governing body for EPA, the Investment Policy Committee (IPC), currently

      consists of Messrs. Russell M. Nelson, Dallin H. Oaks, Henry B. Eyring (of the “First
      Presidency”) together with Gérald Caussé, Dean Davies, W. Christopher Waddell (of
      the “Presiding Bishopric”), Roger Clarke, and a few others by invitation.

      w Boyd K. Packer—when he was next in line to succeed then-President of the COP,

      Thomas S. Monson—came to Mr. Clarke wanting to know how much Ensign Peak had
      amassed and the details of its structure. Mr. Clarke told Mr. Packer that he could not
      share such details. Mr. Packer said, “I think I should know. I’m the most senior
      Apostle and President of the Quorum of the Twelve Apostles, and I’m a breath away
      from being the next Prophet. I think I should be prepared.” Mr. Clarke reaffirmed that
      he had been instructed not to reveal that information to Mr. Packer, who went away
      perturbed and unsatisfied, as related to the whistleblower by Richard B. Willes, the
      Head of Fixed Income at EPA at the time. Mr. Packer died before he could join the
      First Presidency and know the value of EPA.

      There are now at least a few members of the “Twelve” who have some knowledge of
      EPA’s size. Dieter F. Uchtdorf used to be in the IPC and is no longer in the First
      Presidency. Also, Gary E. Stevenson used to be in the Presiding Bishopric.

      x Mr. Oaks was added to the First Presidency in January 2018. It is possible that he

      wasn’t aware before that time that EPA alone owned more than $81 billion in its
      investment portfolio and was generating over $5 billion annually in pure investment
      growth. $40 million on $5 billion is less than 1 percent of EPA’s annual investment
      growth, which, if it came from one the COP’s 501c3 supporting organizations,
      certainly did not come from EPA.

      y The Corporation of the Presiding Bishopric (CPB) is another legal entity affiliated

      with the COP that coordinates with the IPC all pre-investment monetary operations
      of the COP (Exhibit I), including determining what surplus should be transferred to
      EPA. Messrs. Gérald Caussé, Dean Davies, and W. Christopher Waddell are its current
      members. Two diagrams from 2013 show EPA’s internal understanding of how funds
      flowed among the constituents of Mormon, Inc. (Exhibit C and Exhibit H.1).


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201   distinguishing between the COP and EPA here? Does he mean that all proceeds from
202   COP investments go to saving souls (but EPA’s investment proceeds don’t have to?
203   And they don’t.) Mr. Caussé is a master of carefully worded statements.z

      z Mr. Caussé: “Whether Church funds are from reserves or directly from the tithes of

      members, all are used for the singular purpose of supporting the mission of the
      Church. Reserve funds exist for no other reason” (emphasis added). In this context
      “funds” means “operating budgets.” Mr. Caussé knows full well that reserve funds
      (from EPA, ARI, or PRI; Exhibit C) have never supplemented an operating budget,
      but he doesn’t mind implying that they might have supplemented one—by casual use
      of the conjunction “or.” Speaking specifically about investments, the article
      continues: “These funds are invested solely to support the Church’s mission to
      preach the gospel to all nations and prepare for the Lord’s Second Coming.” No
      money has ever flowed out of EPA (including ARI or PRI) for missionary work or to
      prepare for the Second Coming. It’s simply not true. Mr. Caussé has clearly confused
      “supporting” with “hoarding.” They are not synonyms either.

      Mr. Caussé also said: “Certified professionals perform regular audits to ensure strict
      adherence to standard accounting principles and Church policies.” He does not
      mention that almost all of these certified professionals are church employees whose
      livelihood depends on undiminished orthodoxy and obeisance. Third-
      party/independent auditors are rarely used. When they are used, they often have
      limited access or have a conflict of interest (the COP uses managing partnersr who
      are LDS to get the audit that they want; see Exhibit O.2, Comment 6).

      It is below the bar for Mr. Caussé, in 2018, to quote former President Gordon B.
      Hinckley as saying, “the combined income from all of these business interests is
      relatively small and would not keep the work going for longer than a very brief
      period.” That quote might have been permissible in 1985, but Mr. Caussé knows that
      it is not applicable today. The COP’s lawyers (Kirton & McConkie) advise him that it’s
      not the readers’ fault if they assume that the situation hasn’t changed in 34 years.
      The combined income from all of EPA’s business interests (not including the COP’s
      vast business interests) is not relatively small; it would keep the “work” going for
      longer than a very brief period; it would be able to keep the “work” going in
      perpetuity (line 333, page 20; footnote nn, last paragraph). “Brief” and “perpetuity”
      are far less synonymous than are “horses” and “tapirs.”

      The article states: “The ongoing maintenance and upkeep, utilities and use of the
      building[s] can only be achieved as long as faithful members continue to support the
      Church” (emphasis added). Maintenance, upkeep, utilities and depreciation are mere
      rounding errors in the COP budget. This is more than misleading. The coverage ratio,
      especially given EPA’s annual cash return from investments, is astronomical. Mr.
      Caussé wants members and the IRS to believe that the COP is only just above break-
      even.

      Mr. Caussé’s most shifty resurrected quote from President Hinckley was this: “When
      all is said and done, the only real wealth of the Church is in the faith of its people.”
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204
205   “I think it just goes to show what great lengthsaa they are willing to go,” said the
206   whistleblower. “It has taken me years to piece it all together and wake up to what the
207   evidence was pointing to. I guess I was ‘church broke.’bb This kind of façade
208   maintenance comes from the top. It is not accidental. IPC doesn’t want anyone to
209   have enough informationcc to be dangerous.”


      $100+ billion is real wealth. And, by the way, this wealth generates more cash
      annually than the faithful contribute annually.

      Also, according to the article, Mr. Caussé said: “In the United States, where churches
      and other nonprofit organizations are generally exempt from federal and state
      income tax, the Church pays taxes on any income it derives from revenue-producing
      activities that are regularly carried on and are not substantially related to its tax-
      exempt purposes.” (emphasis added). This is not true. Multiple billions of dollars in
      income is derived from EPA investments (a revenue-producing activity) each year;
      this activity is regular; it is not related to a tax-exempt purpose. The IRS makes clear
      that asset management is not related to a tax-exempt purpose.19 Let Mr. Caussé
      explain these statements at a Senate oversight hearing.

      aa For example, the 2001 Patriot Act requires all financial counterparties to “Know

      Your Client” before on-boarding (to prevent funding terrorist activities). Custodians
      and brokers have repeatedly requested due-diligence documentation consistent with
      their internal standards and written procedures, which includes full financial
      statements. In lieu of financial statements, EPA instead provides a “Statement of
      Financial Condition” (Exhibit J). Custodians and brokers who accommodate this
      exception go against industry best practices and their internal risk management
      policies. But some are not willing to forego business with EPA. EPA simply refuses to
      work with a counterparty that demands EPA’s financial statements. Does the SEC
      care that brokers and custodians are circumventing industry best practices to make a
      buck with EPA? Do other clients of EPA’s custodians know that their custodian is
      selectively lax with VIP clients?

      The February 2018 Statement intentionally anchors the business partner into
      believing that EPA has assets above, but near, $5 billion. The actual number for EPA’s
      OAUM at the time was $88.5 billion (See Exhibit A). In 2016, the statement had “$1
      billion” when OAUM was $75 billion. The misrepresentation only grows with time.

      bb Being “church broke” is an internal term within Mormonism, which connotes being

      “broken in” as one would “break in a horse.” Someone who is church broke tends to
      accept direction without question and dismiss any red flags prematurely because of a
      reverence (and deference) to authority. The whistleblower reported that it is
      extremely difficult in the church-employee culture “to make change that bubbles up
      very far.” Revelation is reportedly top-down only, especially when it comes to money.

      cc EPA portfolio teams are siloed from each other in terms of asset data. It is very

      difficult for individual portfolio managers to piece together EPA’s entire financial
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210
211   According to the Chief Investment Officer (CIO), Robert Nydegger, “the biggest risk to
212   Ensign Peak is the loss of its tax-exempt status.” With no equity (a 501c3 has no
213   owners), no debt, no calls for capital, no plans, no defined operational or liability cash
214   flows to support, and no required filings, EPA’s top priority is to contain their biggest
215   risk. Would Messrs. Clarke or Nydegger be removed if EPA were to underperform?
216   “Only if they lost the firm its invisibility cloak,” said the whistleblower.
217
218   But what is the motivation beneath Mr. Nydegger’s admission? The greatest concern
219   with EPA losing its tax-exempt status goes way beyond the money, according to the
220   whistleblower. The COP and EPA have more than enough. It would hurt some egos,
221   but the IPC wouldn’t mind paying a capital gains tax as long as the IRS kept the
222   figures confidential. The issue is transparency. They don’t want the world to know
223   how much is in their “apocalypse arsenal.” Losing 501c3 status necessitates losing
224   the privilege of 6033a3A1,34 the tax code provision that basically says that churches
225   and their integrated auxiliariesdd,35 don’t have to file anything that a typical 501c3
226   has to file annually—including but not limited to:36
227
228   (1) gross income for the year,
229   (2) expenses attributable to such income and incurred within the year,
230   (3) disbursements within the year for the purposes for which it is exempt,
231   (4) a balance sheet with assets, liabilities, and net worth at the beginning of the year,
232   (5) the total of the contributions and gifts received by it during the year,
233   (6) the names and addresses of its foundation managers, and
234   (7) lobbying expenditures.
235
236   Congress intended 6033a3A1 to minimize the stress and difficulty of filing multiple
237   annual reports to the IRS for thousands of small to medium-sized religious
238   institutions, most of which were using up all their charitable donations as fast as they
239   were coming in and lacked modern IT systems for tracking and reporting. The COP


      picture. For example, only four employees are permitted to see EPA’s actual financial
      statements (President and Managing Director Roger Clarke, Chief Investment Officer
      Robert Nydegger, Chief Financial Officer Donald Clouse, and Senior Accountant Carey
      Woolsey).

      dd EPA is an integrated auxiliary on paper only. EPA Treasury does perform some

      cash management services to COP cash (the way people move money from a high-
      balance checking account to a savings account to get a higher interest rate rather
      than putting it in a retirement account). EPA achieves this through investing in
      commercial paper on COP’s behalf. When the “savings account” gets high, periodic
      one-way transfers move cash to EPA Portfolio Cash and then to other portfolios. See
      “Additional Details” in Exhibit C. But cash and “retirement” management services do
      not constitute functional integration. Neither EPA nor COP is “attentive” or
      “responsive” to the other. EPA has token annual meetings with the IPC, but the latter
      basically rubber-stamps everything the former presents.


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240   and EPA are not using 6033 according to its purpose. It should have been clear after
241   ten years (1997–2007), having grown assets from $10 billion to $38 billion (Exhibit
242   K), and having not made a single distribution, that EPA was not functioning as a
243   supporting organization at all and therefore had a moral duty to disclose that fact to
244   the IRS. “They are saying to themselves: ‘Because we don’t have to disclose ins, outs
245   or growth anymore, we can now do whatever we want, and it isn’t wrong since ‘there
246   can be no accuser,’” said the whistleblower.ee,37 “Nope. You still have to be charitable
247   when no one is looking—even if the IRS is not silent note taking. You still have to
248   have something tangible to manage towards. Or you just have to admit that you don’t
249   know what to do with your mountain of money, and make excise payments on what
250   you can’t manage to spend. Or you have to lose your tax-exempt status, so the
251   taxpayer can employ that public trust where it will realize a charitable return.”
252
253   The COP set up EPA in 1997 for the explicit and probably illicit purpose of dumping
254   its surplus where it could silently grow and never be noticed.38 The original trustees
255   may have even felt bad that they had to assume tax breaks from the public on EPA’s
256   capital gains without making expected annual distributions—but that was the only
257   way to exploit 6033a3A1 and wall off the world from how much they had
258   accumulated by 1997 and projected to accumulate in the future. That’s right. The
259   COP built a wall around its money bin—a big, beautiful wall made of the finest fine
260   print, and they made you pay for it. It cost you a lot more than $5 billion.39
261
262   Why is this wall so important to the COP? Is it just to keep the IRS out? Or are they
263   trying to keep something else in? “Their members,” said the whistleblower. “Would
264   you pay tithing instead of water, electricity, or feeding your family if you knew that it
265   would sit around by the billions until the Second Coming of Christ?” Obviously, EPA
266   employees do, or they would lose their job.ff But would the rank-and-file continue to
267   pay? Or would they rank-and-file out?

      ee Joseph Smith, Mormonism’s founder, astonishingly taught that there is no sin if

      there is no accuser. Something of this language and personal values has persisted
      today in EPA/COP: “If you do not accuse each other, God will not accuse you. If you
      have no accuser you will enter heaven… If you will not accuse me, I will not accuse
      you. If you will throw a cloak of charity over my sins, I will over yours—for charity
      covereth a multitude of sins.” History of the Church, 4:445 (7 November 1841). How
      many sins would a charitable distribution of $124 billion cover?

      ff All EPA employees are required to be “full-tithe payers” and “temple recommend

      holders.” Prior to 2017, Mr. Clarke, or his delegate, or an HR person would go desk-
      to-desk requiring employees to show the temple recommend that they were required
      to keep current. Now, temple-recommend checks are conducted electronically,
      automatically, and periodically. In addition, the COP implemented in 2019 a means
      for local clergy to electronically surveil and report to church headquarters the
      weekly church attendance and temple worthiness of church employees who attend
      that specific congregation. The purpose of this big-brother automated system was to
      discriminate against backsliding employees, whose belief systems may have
      migrated from orthodoxy.
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268
269   A quote from the COP’s own Ensign Magazinegg has become an oft-repeated refrain in
270   sermons across the world: “If paying tithing means that you can’t pay for water or
271   electricity, pay tithing. If paying tithing means that you can’t pay your rent, pay
272   tithing. Even if paying tithing means that you don’t have enough money to feed your
273   family, pay tithing.”40
274
275   Paying tithing has always been the principal metric that the COP uses to judge the
276   faithfulness of its members.hh Only the “tithing faithful” can witness the temple
277   marriages of other members—even one’s own children. Only the most “tithing
278   faithful” males get pulled up the ranks of local and general church leadership or
279   “priesthood.” Members may try to out-compete each other’s righteousness by
280   refraining from caffeinated soda; but stakesii and wardsjj divide and consolidate as a
281   function of “tithing faithful per square mile.”
282
283   “That is the true risk that the COP is trying to manage—losing control over their
284   members’ behavior. EPA’s job is to help the COP look smaller and keep out prying
285   eyes, so members won’t lose confidence should they find out that the senior apostles
286   can’t figure out how to use $100+ billion to accomplish Christ’s mission,” the
287   whistleblower elaborated.
288
289   W. Christopher Waddell of the CPB said privately to a small group in the Q&A session
290   following his ‘Best Ideas Lunch’ presentation to EPA employees, “We don’t have any
291   plans to use these funds at the moment. Waiting for God to tell us.”
292
293   During lunch the following day, Michael Connors, Director of Fixed Income at EPA,
294   commented to the whistleblower at the City Creek Mall Food Court, “Maybe the



      gg Ensign Magazine is a COP-owned, COP-distributed magazine with worldwide

      circulation. Both Ensign Magazine and EPA were named with reference to Isaiah
      5:26, “He will left up an ensign to the nations…”

      hh Stake Presidents and Bishops around the world consistently teach members that,

      beyond tithing, members should give their charity money and personal estates to the
      church because at least they can be assured that the money is going to a good cause.
      They often say that other charities have high overhead and you can’t be sure that
      much of it is actually going to a good place; in giving it to the church, they can have
      high confidence that it is being put to work. If only they knew the truth.

      ii In Mormon vernacular, a “stake” is a group of “wards” (local congregations) in a

      geographic region. The word draws from the metaphor used in Isaiah, where the
      stakes of Zion’s tent were in different places, but held the entire structure together.

      jj Local congregations are called “wards.” Wards can comprise 50 to 500 members,

      with 200 being a typical number.


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295   purpose of the funds was not to be spent at all, but to stand as a witness to the
296   leadership of the church of the obedience of its members.” He may be right, but that
297   is not a tax-exempt purpose.
298
299   Another EPA employee reportedly said: “It makes sense. God doesn’t need money to
300   bring about his righteous purposes.” Unsay that to the face of a widow holding an
301   orphan who paid tithing rather than the heating bill. Not all EPA employees are so
302   church broke. Several have agreed with the whistleblower privately.kk
303
304   The “EPA Universe” grew by $90 billion from 2009 to 2019. Roughly one-third of that
305   growth came as tithing run-off from the COP (net to surplus); two-thirds came
306   through investing in mainly six portfolios: U.S. Equities (35.7%), International
307   Equities and Foreign Exchange (9.9%), Private Equity (5.2%), Credit/Duration
308   (22.3%), Hybrid instruments (7.7%) and Cash (2.5%).ll The remaining 17.4% are two
309   holding companies41 for land purchases upon which for-profit businesses, owned by
310   the COP, carry out their missions, none of which have an exempt purpose either (for
311   example, cattle grazing in Nebraska, Florida, and Canada). The compounded annual
312   growth rate on invested capital (the two-thirds mentioned above) was 7.4% between
313   1995 and 2012 (Exhibit K). Internal documents show that EPA leadership believed
314   that approximately 90% of its investment growth came from passive management
315   (“beta” or market-correlated exposures) and 10% came from active management
316   (“alpha” or manager acumen) (Exhibit L).mm
317
318   By how much will the “EPA Universe” grow (holding prior growth rates constant)?
319   See the figure below. $336 billion by 2029 is quite likely. The straightforward model
320   is a little ridiculous, but are we not already there? Is this the COP’s emergent strategy
321   for “rolling forth and filling the whole earth”?42
322




      kk Former EPA Head of Fixed Income, Richard B. Willis, in 2011 tried to advocate for

      transparency. He said, “The longer we wait to disclose the more difficult it will be to
      defend.” A member of the asset allocation team said on one occasion, “We’ve got an
      optics problem here. The lack of distributions sure doesn’t look good.”

      ll These percentages are actual percentages as of February 2018. They have not

      materially changed since then. These percentages along with the full financial picture
      of EPA as of February 2018 can be found in Exhibit A.

      mm The whistleblower commented, “It is a running joke within the firm that we must

      be performing well because we have no liquidity requirements, no return
      requirements, and no liabilities to manage. Sure, we had our benchmarks in our own
      asset classes and we tried to outperform here and there. But there’s only so much
      active management you can do when you have a hundred billion to spread out.”


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323
324
325   How big are private foundations or endowments customarily—for churches and
326   other institutions? According to multiple sources,43 supporting organizations are
327   typically two to three times the size of the supported organization’s annual budget. In
328   such scenarios, the supporting organization can annually fund 10% or more to the
329   supported organization’s budget without diminishment while giving the exempt
330   purpose two or three years to run out its mission should donations to the supported
331   organization cease entirely. The COP is famously tight lipped about what its total
332   tithes and donations are, but one EPA senior leader suspected in 2019 that they are
333   $6–$7 billion annually with maybe $5–$6 billion in expenses.44 If that is true, then
334   every single member of the LDS Church could stop paying tithingnn in January 2020,

      nn The donation-acquisition policy of the church has changed significantly over the

      years. Three things happened in the 1970s that contributed significantly towards the
      COP’s ability to amass so many donations: 1) they changed the definition of income,
      2) they changed the temple requirement, and 3) they adopted a balanced-budget
      philosophy.

      The definition of “tithing” in Joseph Smith’s time included a 10% asset tax to join the
      church and, to continue membership, a 10% tax on one’s annual “increase.” In
      financial terms, this would be a one-time 10% tax on balance sheet and a 10% tax on
      positive changes to retained earnings year-to-year. Later, church leadership evolved
      this policy by repurposing “increase” to mean “net income.” Eventually, church
      leadership suggested that members pay 10% on “gross income” to merit “gross
      blessings” (as opposed to “net blessings”) and, according to some, would then
      gaslight members who were still paying on net. It is common knowledge that gross
      payers, who are male, are more likely to advance in the ranks of priesthood offices.

      The second big change in the 1970s involved applying immense social pressure on
      backsliders. Only temple recommend holders, having paid a full tithing, would be
      allowed to perform sacred temple rituals for themselves and witness temple rituals
      of others, including weddings of family members and loved ones.

      The last big change came after World War II ended. The COP projected that the
      church would grow substantially in Europe so it invested heavily in land and
      buildings in several countries. The COP had a “build it and they will come”
      philosophy. However, conversion rates did not increase and financial distress
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335   and EPA would still be able to cover all of the COP’s unchanged costs in perpetuity
336   (without shrinking EPA’s OAUM). This, of course, assumes that EPA keeps its tax-
337   exempt status and that historic investment growth rates continue similarly. Is this
338   part of the COP’s prophetic direction? Not likely, but at least EPA would start being
339   compliant with the spirit of the tax code for a 501c3 supporting organization.
340
341   Can one fault a religion with a persecution complex for being taciturn about its
342   coffers?oo,45 “The Lord must know what He is doing. Apparently, He is saving it for a


      ensued. All church projects were frozen for some time and church employees were
      even asked to not cash their paychecks. The COP leadership vowed to never again
      “bet the farm” on prophetic speculation, thus establishing an austere balanced-
      budget philosophy. Such loss aversion created a not-on-my-watch mentality that
      permeates both the COP and EPA today. Kings tend not to take risks while on the
      throne.

      It was just a matter of time before the combination of the above three policy changes
      and the power of compounded interest would produce unmitigated, run-away wealth
      (~7% investment growth times $124 billion = $8.7 billion annually, which is greater
      than the highest internal estimate for total annual tithing, which is $7 billion). “It’s a
      miracle,” reportedly remarked Mr. Davies of the CPB on multiple occasions. The
      journal entries make plain that nothing supernatural has occurred: austere
      operations, milked membership, compounded interest, tax breaks and time. “It
      works well enough without that hypothesis,” said Pierre-Simon Laplace.

      oo On the subject of keeping information close to the chest, the whistleblower related,

      “EPA employees are trained to be especially sensitive about information that flows
      outside the corporation, especially anything related to assets and exposures. Of
      course, all corporations need to guard their information, but the lengths that EPA
      goes to borders on paranoia.” The $100+ billion corporation has remarkably few
      employees (20 people in 2010, and 75 people in 2019); it doesn’t even have a sign on
      the building or in the lobby downstairs.

      For example, in 2014, when EPA leadership realized that its intra-company instant
      messages were being stored on Bloomberg servers and theoretically potentially
      readable by a curious Bloomberg employee/hacker, they required that all EPA
      employees cease and desist using Bloomberg chats for internal communications and
      then implemented its own local solution. The firm was paranoid that Bloomberg
      employees could try and reverse engineer assets from texts/trades, jeopardize the
      tax-exempt status, or further disclose OAUM (a Bloomberg article had been written
      in July 201227 and management was afraid of more information getting out).

      In 2017, EPA learned that a corporate bond broker with whom EPA had done a
      material amount of trades, was on the board of Open Stories Foundation (OSF). The
      firm panicked because OSF supported Mormon Stories Podcast, hosted by John
      Dehlin, who was excommunicated for apostasy in 2015. EPA was concerned that OSF
      might be seeking confidential information about the COP or EPA. Questioning the
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343   rainy day,” one EPA director reportedly said to the whistleblower. Setting aside the
344   irony of deity needing money after causing the weather to be bad, one might ask how
345   regulation-skirting justifications crept into the COP and EPA? Perhaps it started in
346   1837, after the State of Ohio rejected the petition of Mormonism’s founder, Joseph
347   Smith, for a bank charter. Undaunted by state regulations, Mr. Smith created an “Anti-
348   Bank,” and illegally printed his own money that displayed the words “The Kirtland
349   Safety Society Anti-Bank-ing Co.”—with the prefix “anti” and the suffix “ing” only
350   mildly larger than fine print (Exhibit M).46 EPA is an Anti-501c3.
351
352   If so undaunted by the spirit of the law, what other “Anti-501c3-ing” activities could
353   Mormons, Inc. be into? Is this a one-off or does cockroach theory apply here? Are
354   there any other bursting mattresses that junior apostles don’t know they are sleeping
355   on? Does the COP have a stash house somewhere else, maybe Switzerland, which
356   even EPA doesn’t know about? The whistleblower has identified 452 offshore
357   accounts that have received over $11.1 billion from eleven COP or CPBy accounts
358   over a ten-year period (Exhibit N).pp,47 The whistleblower said, “I don’t have any
359   direct evidence of COP dark money, but I can’t disprove it. I hope not. But that is the
360   nature of dark money; you don’t know what you don’t see.”
361
362   The whistleblower did, however, see evidence of shady EPA activity multiple times
363   from 2011 to 2016. One such example (Exhibit O) shows how a missing accounting


      bond broker’s true loyalty to Mormonism and fearing that s/he might sympathize
      with apostates, the firm settled on ceasing to do all transactions with that bond
      broker. The whistleblower objected to the obvious bigotry of religious discrimination
      towards business associates, but suggested that the client, the CPB, make the
      decision. The purportedly official response from the CPB was to do business-as-usual
      with the bond broker, followed by a wink and a nod. No trades were made with that
      bond broker ever again.

      pp This information came from the COP’s Global Funding System (GFS). The

      whistleblower was asked by EPA to do a Foreign Exchange risk analysis, which
      necessitated seeing the COP’s foreign risk activities, which are generally not known
      to EPA. Part of this analysis revealed that the COP’s outflows (upstream to EPA
      involvement) to top-off church operating budgets in foreign countries were $11.1
      billion over 11 years (2003 to 2013), which happens to be a round figure of $1 billion
      per year. In 2013, the total church population was reported by the LDS church to be
      15.1 million members. 56.3% of the total membership was living outside the United
      States and Canada at that time. The United States and Canada were (and are) the only
      self-sustaining countries with respect to operating budgets. All other countries
      require supplements. On a per member basis, this means that the COP effectively sent
      $118 (U.S. dollars) to support each member in a non-self-sustaining country in 2013
      (about $10 per member per month). In general from 2003 to 2013, the COP put
      more money into its “reserve of the reserves” than it spent on supplementing its
      members who can’t support themselves (compare Exhibit Q.1 and Exhibit N.2 for
      2013).


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364   control (segregation of duties) and a “worst practice” (deleting receivables) together
365   constituted a potential mechanism for dark money. The mechanism was identified by
366   the whistleblower and corrected by top management only to be intentionally re-
367   introduced by top management once the attention had died down. The whistleblower
368   re-discovered the worst practice and missing control by accident years later and
369   immediately raised the potential fraud flag. Top management did respond
370   immediately; however, the persons responsible for investigating were also the
371   persons who had re-instated the worst practice in the first place. To make a long
372   story short, deleting receivables can constitute an effective way to make untraceable
373   “payments.”
374
375   Institutions like the COP can also hide in the dark because they are exempt from
376   virtually all reporting requirements in the United States. Many other countries
377   require even less. What part has the COP played in lobbying to minimize reporting
378   requirements for 501c3 supporting organizations that support a religion?qq,48 What
379   other strategies are there for obfuscation—legitimate and tenuous? Add a layer of
380   LLCs.
381
382   In May 2018, KUTV reported49 (their source was Mormonleaks.io50) that 13 holding
383   companies—potentially owned by the Mormon Church—collectively owned $32.7
384   billion in U.S. stocks at year-end 2017. The next day, an emergency staff meeting, led
385   by CIO Mr. Nydegger, was called at EPA to discuss whether new holding companies
386   needed to be created since the current structurerr could no longer obfuscate EPA’s
387   equity positions.ss

      qq The Internal Revenue Code requires that a supporting organization’s time, efforts,

      and assets spent on political purposes must not be substantial. How can the IRS
      know whether the Mormon Church’s political expenditures in a locality are
      substantial if nothing can be known about the size of their assets locally or
      collectively?

      rr All 13 holding companies are fully owned and controlled by EPA. Mormonleaks.io

      confirmed that one individual named in the 13Fs was a church employee; the others
      refused to comment. The whistleblower confirms that ten of the Business Managers
      listed in the thirteen 13Fs were COP employees; the remaining three were EPA
      employees at the time (Exhibit P, inset).

      ss EPA decided that creating new entities would draw unwanted attention and be

      obvious. To avoid follow-on stories in the media and re-enforced public perceptions
      of obfuscation, EPA concluded that a slower strategy over many years might be more
      effective for full re-concealment. Incidentally, the third party who shared the
      information with Mormonleaks.io discovered that the thirteen LLCs were potentially
      owned by the Mormon Church because all thirteen happened to be created on the
      same day and all had domain names that were hosted by servers that also host
      lds.org and mormon.org. EPA leaders were dismayed that all their hard work to hide
      their domestic stock positions could be undone by an IT efficiency (using fewer
      servers to host their sites).
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388
389   The total AUM of 12tt of the 13 holding companies was $31.9 billion at the end of
390   2017. This was indeed the total U.S. public-equity figure for all internally managed
391   EPA portfolios. Another estimated $3.7 billion in U.S. public equities were owned by
392   EPA, but were externally managed at that time, bringing the total to $35.6 billion
393   (Exhibit P).
394
395   Undeniably the overall activity of the COP (and EPA) is not dark, nor shady. The same
396   can probably be said of virtually all churches. The biggest difference between the
397   COP and other churches is that most other churches are financially transparent to
398   their members and put substantially all their money to charitable work.51 Perhaps a
399   gigachurch could also. But it is going to have to get creativeuu and start planning to
400   spend its $100+ billion on something other than deferred spiritual warfarevv or post-
401   apocalyptic reconstruction. The dwarves of Erebor at least made things with their
402   mountain trove.
403
404   The purpose of this exposition is not to jeopardize the right of religious institutions
405   to amass wealth—even great wealth. Most religious institutions’ assets don’t



      tt It turns out that one of the holding companies, Clifton Park Capital Management,

      had been repurposed since 2016 and no longer held any U.S. public-equity positions,
      but only private equity. This is why there was no 13F in both 2016 and 2017 (it was
      erroneously assumed by reporters that Clifton Park continued to hold publicly
      traded U.S. stocks at the time the article was published).

      uu Members of the Mormon Church get very creative when it comes to raising funds

      (bake-offs, scout-camp auctions, etc.), especially to send their youngsters on
      missions, which is required of all males and is optional for females. The COP recently
      announced that the monthly dues for missionary service will increase by 25% in
      2020 (from $400 per member per month to $500 per member per month) for
      residents of Australia, Austria, Belgium, Canada, Denmark, France, Finland, Germany,
      Iceland, Ireland, Italy, Japan, the Netherlands, Norway, Switzerland, Sweden, the
      United Kingdom and the United States; it will remain $400 per member per month
      elsewhere. The COP and the CPB sure don’t mind putting the squeeze on the middle-
      class family with two kids in college and one on a mission. Does such a family know
      that with approximately 70,000 full-time missionaries, the entire full-time
      missionary program would only cost $336 million annually? The “reserve of the
      reserves” makes 20x that amount annually as investment income alone; EPA has
      never distributed any support to the missionary effort and hasn’t supported anything
      at all in five years.

      vv The warning from late Christopher Hitchens rings true in this context—that people

      have the right to remember the way wealthy organized religions behaved when they
      were strong. How much stronger financially is the COP now than any of its peers and
      ever before in history?


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406   overpower their needs. Even those that can save still spend an amount
407   commensurate to the size of their assets. They don’t abuse the public trust and don’t
408   deserve any more red tape. But society needs a Church-Offender Registry. Getting on
409   it should mean consequences for the rest of your corporate life. There needs to be a
410   mechanism to keep gigachurches from spawning 501c3’s without having to register
411   them.ww Trustees and officers of an offending church must be prevented from
412   becoming repeat offenders. The IRS should require all churches with more than, say,
413   $50 billion in net worthxx 1) to file publicly everything a non-religious 501c3 does,yy
414   2) to distribute a minimum of 5% of its investment assets (the way all other private
415   foundations do), and 3) to demonstrate annually to the IRS that it is passing a
416   common-sense “commensurate test” (one is proposed in Exhibit F). Congress should
417   enact such legislation. The Senate should hold hearings to give the COP and EPA a
418   chance to explain themselves to the People.zz The President of the United States
419   should sign and execute a bill that works for all churches, not just the one at the top
420   (financially).
421




      ww There is no reason to assume that the COP does not have other entities like EPA in

      other places. They would not likely be as large; the IRS should have the power to find
      out.

      xx It is inherently very difficult to determine the total net worth of Mormons, Inc.

      because, unlike EPA, most of the church’s assets are not publicly traded, are not
      recently transacted, and have no intention of being sold (and so are not periodically
      marked to market). However, adjusting the estimates of Newsweek, Bloomberg,
      Time Magazine and Reuters with conservative growth rates and sparse internal
      information (such as country-to-country payments to supplement area operating
      budgets), the whistleblower believes that the best net-worth figure, if forced to
      guess, would be $200+ billion.

      yy Many small and medium-sized corporations are not required to provide certain

      benefits that other larger corporations must provide by law. Some religions are
      corporations; certainly the COP is. It is not unreasonable that gigantic religious
      corporations should have to conform to more regulations than very small religious
      corporations do. This is common sense and should be codified in law.

      zz Henry B. Eyring was a founding member of EPA and an original trustee. He is the

      only founding trustee who is still alive. He is the only person who has regularly
      attended the board meetings between the COP and EPA for 22 years. He is the most
      qualified and informed person to stand before the Senate and explain what the true
      intent of EPA was from the beginning, why the trustees have consciously chosen to
      accept tax breaks without performing a charitable mission, whether he ever felt that
      the IRS should know that they weren’t making any charitable outflows at all, and how
      he walks the line between legally squeamish and morally bankrupt.


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422   Then there is the matter of restitution. Can a church so bent on confession,
423   worthiness interviews,aaa,52 and repentance take its own medicine?bbb Or will it’s
424   lawyers hide behind amoral legalese—pointing to all the dotted i’s and crossed t’s?
425
426   The COP teaches that there are five principles of repentance: 1) recognize, 2) feel
427   sorrow, 3) forsake, 4) apologize, and 5) right the wrong.53 It is unlikely that the COP
428   or IPC will do anything on step 4. According to Mr. Oaks, a member of both: “The
429   church doesn’t ‘seek apologies,’ he said, ‘and we don’t give them.’”ccc,54 But will it try
430   to do step 5? Or will the IRS and the public compel it to be humble?
431
432   If the IRS determines that EPA was delinquent in making qualifying supporting
433   distributions each year, then EPA’s total nominal excise penalties would be $18.5
434   billion, or $26.1 billion with interest (Exhibit Q.1). Looking back only seven years,
435   the total tax bill would be $11.6 billion.
436
437   If the IRS determines that the COP did not intend for EPA to be a charitably active
438   supporting organization and rules that it should have been paying capital gains tax
439   since 1997, then EPA’s OAUM (holding all contributions and investment growth rates
440   unchanged) would be $80.7 billion today--$18.4 billionddd lower than the current
441   amount (Exhibit Q.2). Alternatively, the sum of nominal evaded capital-gains
442   payments would have been $9.3 billion, or $16.3 billion with penalties and interest
443   (Exhibit Q.3). Should the IRS only audit back seven years, the total tax bill would be
444   $7.2 billion, or $9 billion less. That is the value of flying under the radar as long as
445   you can. “I think EPA knew this was going to catch up to them eventually; they just
446   wanted to milk it for as long as they could,” said the whistleblower.eee
447

      aaa Worthiness interviews are a controversial ecclesiastical practice recently covered

      in the media, especially regarding the asking of sexually explicit questions to minors.

      bbb “Are you a full tithe payer?” the church asks the members before it will let them

      go to a temple. “Are you a full qualified distributor?” the member should ask first.

      ccc The context for this quotation was the church’s reflection on its “past language on

      homosexuality.” Mr. Oaks then expanded that context to include the entire history of
      the church and other issues, and strengthened his point on video “by insisting that
      the word ‘apology’ doesn’t appear in LDS Scriptures.” The video has become a meme
      on social media.54

      ddd Using various methods for tracing tithing principal separate from tithing

      investment returns, the whistleblower’s best estimate for the composition of EPA’s
      OAUM today is: 23% tithing principal, 60% investment returns, and 17% tax breaks.

      eee The whistleblower continued, “I have to say that I gave them fair warning. I took a

      lot of cold water in the face for bringing up these issues over and over for almost a
      decade,” the whistleblower remarked.


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448   What is EPA’s ability-to-pay the IRS? In addition to $4.5 billion in EPA’s treasury
449   (essentially cash) and $2.4 billion in portfolio cash, the overall liquidity of EPA’s
450   portfolio is uncharacteristically high. Maturing bonds and dividend-yielding stocks
451   need not be re-invested; their natural roll-off would produce $7 billion in liquidity
452   over six months. In addition, internal documents show that in March 2013 EPA could
453   liquidate 85% of its portfolio in 3 months by selling into normal marketsfff without
454   substantial disruption (Exhibit R); that target is now closer to 75%, according to the
455   whistleblower. No fire sale would be necessary.
456
457   What is EPA’s willingness-to-pay the IRS? “There is no question in my mind that the
458   COP would be willing to pay whatever amount the IRS deems appropriate,” said the
459   whistleblower. But if revocation of the tax-exempt status were a condition of
460   settlement, they would fight it tooth-and-nail to the finish line, appealing all the way
461   to the Supreme Court, if necessary. It is the culture of the COP to act in its own
462   interest, pay anticipated fines, and settle with non-disclosure agreements, but it does
463   not publicly capitulate or ever admit wrongdoing.ccc,ggg It must not be perceived that
464   the COP answers to any earthly authority—hence, the COP (and by extension EPA)
465   would be willing to pay handsomely for continued anonymity, according to the
466   whistleblower.
467
468   What is the IRS’s willingness-to-investigate EPA? It has not always been easy for the
469   IRS to collect from wayward churches for four reasons: 1) it is hard to get the right
470   information from entities who don’t make regular filings and who are not
471   forthcoming nor transparent with their finances, 2) often there is little or no money
472   to collect, 3) perpetrators often flee, and 4) attaching fines or a lien to a financially
473   empty church usually means hurting innocent members.
474
475   None of these concerns apply in this case: 1) the whistleblower has provided vast
476   information and analysis to the IRS, 2) there is an ungodly amount of highly liquid
477   assets already set apart from all church and affiliate operations, 3) the perpetrators
478   come from a gerontocracy and pose no serious flight risk, and 4) fines of any size can
479   be paid without disruption to any day-to-day activity and without hardship to any lay
480   member.

      fff What would Wall Street think? “The most that EPA has ever spent in a year was

      $600 million, and their policy requires access to >$75 billion in less than 90 days—
      and what’s the plan?! Spend it on what? Mergers & Acquisitions? Are they paranoid?”
      Organizations only need such liquidity 1) to massively spend in the near future, and
      2) to flee. It is clear that the COP won’t be doing any spending. But neither are they
      likely to flee, despite having hidden from authority many times in the past and having
      fled from New York to Ohio, then to Missouri, then to Illinois, then to Utah. At this
      point, “Where will you go? What will you do?”58

      ggg Notable examples in this regard surround its fines and penalties for pushing

      legislation touching LGBTQ issues, legal discrimination under the guise of “religious
      freedom,” and other issues.


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481
482   But the foregoing only makes restitution to the IRS. What of the violation of the
483   public trust? Where should the value have gone, and how much would it have been?
484   Hypothetically, if EPA were to have had the exact same growth performance and
485   contributions from the COP, but had paid 5% distributions each year since its
486   inception, then EPA’s OAUM would be $32.4 billion instead of 99.1 billion today. This
487   difference is the real, present value of your public trust in EPA: $66.6 billion (Exhibit
488   Q.4). It is the cumulative good in the world the public might rightfully have
489   expectedhhh from the COP via its supporting organization. “Will EPA rob God?”
490   Mormons will ask. “But you have robbed me,”iii Jane and John Q. Taxpayer will
491   respond.
492
493   And what of the violation of the trust coming from the COP’s members?jjj Very few
494   members know anything about EPA at all. In 2012, Reuters quoted Marlin K. Jensen,
495   then-church historian, on the topic of recent LDS membership attrition: “Not since a
496   famous trouble spot in Mormon history—the 1837 failure of a church bank in
497   Kirtland, Ohio—have so many left the church. Maybe since Kirtland, we’ve never had
498   a period of—I’ll call it—apostasy, like we’re having now.”55
499
500   One hundred eighty-two years ago, at extreme cost to its membership, the Ohio-
501   based “COP” survived the collapse of its Anti-Bank, uprooting itself again and
502   relocating to the Wild West. Today, can the Utah-based COP survive the collapse of its
503   Anti-501c3? Probably, but at what cost to its membership? It might have to relocate
504   again, perhaps to the Cayman Islands.
505
506   At the end of the day, the IRS, the Senate, the court of public opinion, and the reader
507   need to weigh in. Does EPA pass the “smell test”? Does it quack like a 501c3 or not?
508   Or are Jesus’ 12 more like Thorin’s 13, who—not parting with a single coin—make a
509   last stand atop a lonely mountain named Ensign Peak.
510
511
512
513
514   56575859




      hhh How many poor could have been fed? How many refugees could have been

      sheltered? How many afflicted could have been healed? Diseases cured?

      iii Bible: Malachi 3:8

      Book of Mormon: 3 Nephi 24: 8

      jjj “Hastening the work” is an oft repeated refrain from COP leadership, which

      constantly urges its members to devote more time, energy and financial resources to
      the church. Because EPA has only pulled resources out of the system and has given
      nothing to anything religious, educational, or charitable for 22 years, EPA (ironically)
      has been “dampening the work.” See endnote 59.
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     1 Entity Number: 555534-0145


     https://secure.utah.gov/bes/details.html?entity=555534-0145

     2 “Kingdom Come,” Time Magazine. David Van Biema. 1997. “Salt Lake City was just

     for starters—The Mormons’ true great trek has been to social acceptance and a $30
     billion church empire.”

     http://content.time.com/time/magazine/article/0,9171,986794,00.html

     3 Entity Number: 1376719-0140; Tax Identification Number: XX-XXXXXXX.


     https://secure.utah.gov/bes/details.html?entity=1376719-0140

     4 https://www.usnews.com/education/best-colleges/the-short-list-

     college/articles/10-universities-with-the-biggest-endowments

     5 This is the figure published by the LDS church at its newsroom website, which gives

     no publication date.

     https://newsroom.churchofjesuschrist.org/article/what-to-expect-at-church-
     services?fb_action_ids=458968067467527&fb_action_types=og.recommends&fb_sou
     rce=aggregation&fb_aggregation_id=288381481237582

     6 As of October 2019 the total number of temples in any stage of construction was

     217. 166 have been dedicated; 15 are under construction; 36 are announced.

     7 Apartment complexes in Chicago:

     https://www.chicagobusiness.com/commercial-real-estate/mormons-buy-south-
     loop-apartment-tower

     Apartment complexes in Philadelphia:
     https://archive.sltrib.com/article.php?id=4358490&itype=CMSID

     Mixed-use development in Mesa:
     https://www.eastvalleytribune.com/scope-of-mormon-temple-area-project-in-
     mesa-to-be/article_72245224-c4d5-11e8-a88f-4fa589377d9d.html

     8 Brigham Young University—Provo (BYU), Brigham Young University—Idaho (BYU-

     I), Brigham Young University—Hawaii (BYU-Hawaii), LDS Business College

     9 Bonneville International, Deseret News Publishing, Deseret Digital Media, etc.


     10 The Mormon Church had built 78 relatively small tabernacles before 1960. It has

     since abandoned the practice. The LDS Conference Center was built in April 2000 to


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     replace its prior primary tabernacle on Temple Square, home of the formerly known
     Mormon Tabernacle Choir.

     11 This is more than Harvard’s, Yale’s, Stanford’s, Princeton’s, and MIT’s endowments

     combined. The Bill and Melinda Gates Foundation has $51.6 billion currently, and
     had given away $41 billion between 2000 and 2017 with a primary goal of “healing
     the sick” via anti-malaria campaigns and pandemic avoidance research. EPA has
     given away $0 to religious, educational, or charitable purposes over the same time
     frame. It is remarkable that a tech giant’s surplus has done more to “heal the sick”
     than a global church whose “reserve of the reserves” is more than twice the size.

     https://www.philanthropy.com/article/Buffett-GatesBloomberg/241235

     12 For more information on the requirements of private foundations, see:


     https://www.irs.gov/charities-non-profits/private-foundations/taxes-on-failure-to-
     distribute-income-private-foundations

     “Private foundations are required to spend annually a certain amount of money or
     property for charitable purposes, including grants to other charitable
     organizations. The amount that must be distributed annually is ascertained by
     computing the foundation’s distributable amount. The distributable amount is equal
     to the foundation’s minimum investment return with certain adjustments.”

     “The distributable amount must be distributed as qualifying distributions.”

     “A foundation that fails to pay out the distributable amount in a timely manner is
     subject to a 30 percent excise tax under section 4942 on the undistributed
     income. The tax is charged for each year or partial year that the deficiency remains
     uncorrected. An additional 100 percent tax is triggered if the foundation fails to
     make up the deficient distribution within 90 days of receiving notification from the
     IRS of its failure to make minimum distributions.”

     https://www.irs.gov/government-entities/irc-section-4942-taxes-on-failure-to-
     distribute-income-carryover-of-excess-distributions-or-undistributed-income

     13 The terms private foundation and supporting organization are not perfectly

     synonymous. The IRS created “supporting organizations” in 2006 as a “light” version
     of a private foundation. Some supporting organizations have a minimum payout
     requirement. For example, a 509a3 Type III non-functionally integrated supporting
     organization, or Type III non-FISO, has a minimum payout requirement—the greater
     of 3.5% of assets or 95% of annual investment growth. Some have no such
     requirement. It is difficult for a whistleblower to determine whether EPA is
     organized as a Type I, II or Type III supporting organization. But all types have the
     legal expectation to do charitable work through distributions from time to time for
     their supported organization.

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     In Form 990-T (Exhibit S) Section I, EPA affirms that it was a “subsidiary in an
     affiliated group or a parent-subsidiary controlled group.” It gives a handwritten
     number of the parent corporation: CORP XX-XXXXXXX. This may indicate that EPA is
     in a parent-child relationship, which may indicate that it is Type I.

     14 The COP had a controlling majority of Zions Bancorporation until 1960. It is not

     publicly known what share of the company the COP (or EPA) currently owns.

     15 A supporting organization (EPA) must engage solely in activities that support or

     benefit its supported organization (COP). BFG is not a supported organization (nor a
     supporting organization that supports the same supported organization). The COP
     owns BFG via Deseret Management Corporation (DMC), but that doesn’t make a
     direct grant (from EPA to BFG) or an indirect grant (from EPA to COP to DMC to BFG)
     a qualifying grant for EPA’s tax-exempt purpose. Bailing out BFG did not meet the
     COP’s exempt purpose, so it couldn’t meet EPA’s exempt purpose either. The COP
     might argue that the internal bailout helped to keep its brand and reputation
     untarnished, which indirectly helped it to retain some members. However, brand
     management for a religion is not a religious, educational, or charitable function,
     which belies its exempt status and the “irrevocable dedication” of EPA’s assets as
     required by its Articles of Incorporation (Exhibit E.1).

     Immediately after this bailout, BFG announced that it was exiting the life insurance
     business, cut 150 jobs in Utah, and would write no new policies after August 2009.

     16 “Downtown Redevelopment Plans Announced,” Newsroom. LDS Church. October 3,

     2006. Retrieved 2015-06-09.

     According to the IRS, “a foundation may set aside funds for up to 60 months for
     certain major projects. Excess qualifying distributions may be carried forward for a
     period of five tax years immediately following the tax year in which the excess was
     created.”

     EPA did not set aside or earmark money for the City Creek Mall in the five years
     leading up to the distribution. The concept design of City Creek Center was
     announced in October 2006. Regardless, the total amount used for the City Creek
     Mall was less than one year’s distribution requirement for comparable private
     foundations.

     17https://web.archive.org/web/20150220125939/https://www.aisc.org/newsdetai

     l.aspx?id=35390

     18 Even though City Creek Mall does contain some office units for employees engaged

     in managing endowment funds for EPA, the mall may not be considered an asset used
     for exempt purposes, as per the Internal Revenue Code.


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     https://www.irs.gov/charities-non-profits/private-foundations/assets-used-for-
     exempt-purposes-private-foundation-minimum-investment-return

     “An office building used to provide offices for employees engaged in managing
     endowment funds for the foundation is not considered an asset used for exempt
     purposes.”

     “An asset is used (or held for use) for exempt purposes only if it is actually used by
     the foundation in carrying on the charitable, educational, or similar function that
     gives rise to its exempt status, or if the foundation owns the asset and establishes to
     the satisfaction of the Service that its immediate use in exempt functions is not
     practical and that definite plans exist to begin the use within a reasonable period of
     time.”

     EPA has never attempted to establish to the satisfaction of the IRS that the Mall
     would be used for any exempt purpose over any time frame.

     “However, where property is used both for exempt and nonexempt purposes, the
     property will be considered as being used entirely for exempt purposes if at least 95
     percent of its total use is for exempt purposes. But, if less than 95 percent of its total
     use is for exempt purposes, a reasonable allocation must be made between exempt
     and nonexempt use. Property acquired by the foundation to be used for an exempt
     purpose will be considered an asset used for exempt purposes even though all or
     part of the property is leased for a limited and reasonable time (generally no more
     than one year) while arrangements are made to convert it to use for exempt
     purposes.

     19 “Assets held for the production of income or for investment (for example, stocks,

     bonds, interest-bearing notes, endowment funds, or [leased] real estate) are not
     considered used or held for use for exempt purposes even though the income from
     those assets is used to carry out an exempt purpose. Whether an asset is held for the
     production of income or for investment rather than used or held for use directly by
     the foundation for exempt purposes is a factual question.” (emphases added)

     “Where the income-producing use continues beyond a reasonable time, the property
     will not be considered an asset used for exempt purposes. Instead, at the time the
     income-producing use becomes unreasonable, the property will be considered
     disposed of to the extent the acquisition was taken into account as a qualifying
     distribution. If the property is later used by the foundation for exempt purposes, a
     qualifying distribution in an amount equal to its fair market value at that time will be
     considered to have been made at the time the exempt use begins.”

     https://www.irs.gov/charities-non-profits/private-foundations/assets-used-for-
     exempt-purposes-private-foundation-minimum-investment-return



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     20 https://charitylawyerblog.com/2010/08/16/nonprofit-law-jargon-buster-the-

     commensurate-test/

     21 The Salt Lake Tribune estimated that the construction cost of the LDS Conference

     Center was $240 million.

     https://www.nytimes.com/2000/02/06/us/new-structure-symbolizes-mormon-
     growth.html

     22 “Whenever a charity is building up capital over an extended period, the

     organization should document the purpose. Whether it is to build an endowment, to
     fund capital expenditures, or some other legitimate charitable purpose, that purpose
     should be appropriately documented in board resolutions. Charities with
     endowments should periodically review their expenditure policy to determine
     whether it is spending its assets at an appropriate rate in light of its resources.” See
     endnote 20.

     EPA has built up capital over an extended period—more than 22 years. Neither the
     COP nor EPA has officially documented nor communicated a specific planned
     purpose. “Distant future needs” would not pass muster.

     23 https://www.churchofjesuschrist.org/study/scriptures/gs/bridegroom?lang=eng


     https://www.deseret.com/2018/4/16/20643748/dowry-is-not-the-lord-s-way-in-
     kenya-lds-president-nelson-says-tithing-breaks-poverty-cycle

     24 Revelation 20:8


     25 Matthew 6:24: “No man can serve two masters: for either he will hate the one, and

     love the other; or else he will hold to the one, and despise the other. Ye cannot serve
     God and mammon.”

     26 Kirn, Walter (June 5, 2011). “The Mormon Moment,” Newsweek. Archived from the

     original on December 8, 2014.

     27 http://archive.sltrib.com/article.php?id=54478720&itype=CMSID


     https://www.bloomberg.com/news/photo-essays/2012-07-12/the-mormon-global-
     business-empire

     https://www.bloomberg.com/news/articles/2012-07-18/how-the-mormons-make-
     money

     28 In Wikipedia’s “List of Wealthiest Organizations,” the Church of Jesus Christ of

     Latter-day Saints is listed as the wealthiest among all charitable, educational and
     religious institutions with a net worth of $67 billion. EPA alone, the “reserve of the

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     reserves,” is just one of the COP’s endowments, which itself is 2x the Wikipedia
     estimate of the whole (non-inclusive of all the for-profit businesses, land, chapels,
     temples, etc.).

     29 https://www.thechurchnews.com/archives/1997-08-02/church-issues-response-

     to-time-magazine-story-129947

     In this responsive article, Bruce Olsen also said: “It would also have been well if
     [Time Magazine] had pointed out that the bulk of the Church’s assets are money-
     consuming assets, rather than money-producing.” That may or may not have been
     true in 1997. It is certainly not true now. The bulk of the Church’s assets are money
     producing. If Mr. Olsen’s comment could have been alleviating in 1997, it has the
     opposite effect now.

     30 To some Mormons, this kind of doublespeak smacks strongly of the “carefully

     worded” denials the Church has presented over the years on a vast range of
     controversial topics, which have now been somewhat addressed through a collection
     of “Gospel Topic Essays,” which are available online at the following URLs:

        A) https://www.churchofjesuschrist.org/study/manual/gospel-topics-
           essays/first-vision-accounts?lang=eng
        B) https://www.churchofjesuschrist.org/study/manual/gospel-topics-
           essays/christians?lang=eng
        C) https://www.churchofjesuschrist.org/study/manual/gospel-topics-
           essays/book-of-mormon-translation?lang=eng
        D) https://www.churchofjesuschrist.org/study/manual/gospel-topics-
           essays/race-and-the-priesthood?lang=eng
        E) https://www.churchofjesuschrist.org/study/manual/gospel-topics-
           essays/plural-marriage-and-families-in-early-utah?lang=eng
        F) https://www.churchofjesuschrist.org/study/manual/gospel-topics-
           essays/book-of-mormon-and-dna-studies?lang=eng
        G) https://www.churchofjesuschrist.org/study/manual/gospel-topics-
           essays/becoming-like-god?lang=eng
        H) https://www.churchofjesuschrist.org/study/manual/gospel-topics-
           essays/peace-and-violence-among-19th-century-latter-day-saints?lang=eng
        I) https://www.churchofjesuschrist.org/study/manual/gospel-topics-
           essays/translation-and-historicity-of-the-book-of-abraham?lang=eng
        J) https://www.churchofjesuschrist.org/study/manual/gospel-topics-
           essays/plural-marriage-in-kirtland-and-nauvoo?lang=eng
        K) https://www.churchofjesuschrist.org/study/manual/gospel-topics-
           essays/the-manifesto-and-the-end-of-plural-marriage?lang=eng
        L) https://www.churchofjesuschrist.org/study/manual/gospel-topics-
           essays/joseph-smiths-teachings-about-priesthood-temple-and-
           women?lang=eng
        M) https://www.churchofjesuschrist.org/study/manual/gospel-topics-
           essays/mother-in-heaven?lang=eng

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     Responses that deconstruct the doublespeak in the above essays can be found in the
     corresponding list below:

     http://www.mormonthink.com/essays-responses-intro.htm

     Response to A: http://www.mormonthink.com/firstvisionweb.htm
     Response to B: http://www.mormonthink.com/essays-are-mormons-christian.htm
     Response to C: http://www.mormonthink.com/transbomweb.htm
     Response to D: http://www.mormonthink.com/blackweb.htm
     Response to E: http://www.mormonthink.com/essays-plural-marriage.htm
     Response to F: http://www.mormonthink.com/book-of-mormon-problems.htm#DNA
     Response to G: http://mormonthink.com/essays-becoming-like-god.htm
     Response to H: http://www.mormonthink.com/essays-peace-and-violence.htm
     Response to I: http://www.mormonthink.com/essays-book-of-abraham.htm
     Response to J: http://www.mormonthink.com/essays-plural-marriage-in-kirtland-and-nauvoo.htm
     Response to K: http://www.mormonthink.com/essays-manifesto.htm
     Response to L: http://www.mormonthink.com/essays-priesthood-and-women.htm
     Response to M: http://www.mormonthink.com/essays-mother-in-heaven.htm

     31 https://www.deseretnews.com/article/865657898/LDS-Church-welfare-

     humanitarian-efforts-average-40-million-per-year-apostle-says.html

     32 Again, such a distribution would be qualifying were it to come from EPA. EPA has

     not made any charitable distributions.

     33 https://newsroom.churchofjesuschrist.org/article/church-finances-and-a-

     growing-global-church

     34 Section 508c exempts integrated auxiliaries of a church from the requirement that

     new organizations notify the Secretary of the Treasury that they are applying for
     recognition of section 501c3 status (Form 1023). They can just become a 501c3
     organization without paper work.

     https://www.law.cornell.edu/uscode/text/26/508

     Section 6033a1 requires organizations that are exempt from income tax under
     section 501a and their supporting organizations to file annual returns. Section
     6033a3Ai provides exceptions to this requirement for certain specified types of
     organizations, including churches, their integrated auxiliaries, and conventions or
     associations of churches. No doubt the wealthiest church was the most influential in
     the lobby that enabled that exception.

     35 This provision establishes the criteria of an integrated auxiliary: 1.6033-2g and h.


     https://www.irs.gov/pub/irs-regs/td8640.txt

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     36 https://www.law.cornell.edu/uscode/text/26/6033


     37 For a more full discussion of such statements from Joseph Smith, as compiled by

     Grant Palmer, see:

     https://www.mormonstories.org/podcast/final-evening-with-grant-palmer/

     38 In Rev. Rul. 67-235, 1967-2 C.B. 113 the court held that an organization that is not

     “charitable” in the generally accepted legal sense does not qualify for IRC 501c3
     exemption. See also Reg. 1.501c3-1d2.

     Organizations that sit on wealth and don’t distribute it fall outside the definition of
     “charitable” in the generally accepted legal sense.

     Citing Restatement (Second) of Trusts Section 377 (1959), the court stated that it is
     axiomatic that a charitable trust is invalid if it is created for an illegal purpose. If that
     sole purpose is to defraud or evade taxes, then one could argue that the charity was
     created for an illegal purpose. Ensign Peak has never managed to a liability stream.

     39 https://www.pbs.org/newshour/nation/senate-republicans-ok-5-billion-for-

     trumps-border-wall

     40 Ensign Magazine, December 2012 issue. “Sacred Transformations,” Aaron L. West,

     page 38.

     https://media.ldscdn.org/pdf/magazines/ensign-december-2012/2012-12-00-
     ensign-eng.pdf

     41 The entity number for AgReserves, Inc. (ARI) is 1101479-0142 and is listed as a

     domestic corporation (for profit).

     https://secure.utah.gov/bes/details.html?entity=1101479-0142

     The entity number for Property Reserve, Inc (PRI) is 585535-0140 and is listed as a
     domestic corporation (non-profit).

     https://secure.utah.gov/bes/details.html?entity=585535-0140

     These entities, as is the case with so many entities associated with the COP and the
     CPB, change legal names frequently and have multiple DBAs (doing-business-as)—
     making it more difficult to ascertain the bigger picture.

     42 Mormons liken their church to a stone cut out of a mountain that rolls forth,

     gathering no moss, and fills the entire earth. (Daniel 2: 28, 34, 35). Supposing


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     Nebuchadnezzer’s dream to relate to the modern era, former COP President Spencer
     W. Kimball said:

                    “And in the days of these kings [that is, the group of European
                    nations] shall the God of heaven set up a kingdom, which shall never
                    be destroyed: and the kingdom shall not be left to other people, but it
                    shall break in pieces and consume all these kingdoms, and it shall
                    stand for ever.

                    “The Church of Jesus Christ of Latter-day Saints was…the stone cut out
                    of the mountain without hands that would become a great mountain
                    and would fill the whole earth…

                    “I know it will fill the earth as prophesied…I know it is true and divine.
                    We offer it to you without price.”

     If it ever was, the COP is no longer that stone. EPA is no longer just a stone either.
     Ensign “Peak” has literally become that “great mountain” of money.

     And “without price?” Seriously?

     https://www.churchofjesuschrist.org/study/general-conference/1976/04/the-
     stone-cut-without-hands?lang=eng

     43 https://www.raise-funds.com/how-much-endowment-is-right-for-our-

     organizaton/

     https://trust.guidestar.org/2012/04/25/how-big-should-your-endowment-be/

     44 An apologist might argue that because the COP does spend maybe $5–6 billion per

     year—how would anyone know?—on the church budget (including for-profit
     business, religious functions, and educational institutions) that it earns the right to
     grow unchecked, with a tax break, and with no accountability for using that tax break
     for a public good…ever. A commensurate test is fortunately not for an apologist to
     administer; that’s for the IRS and Senate Oversight Committees to decide. See Exhibit
     F.

     45 For more information about Open Stories Foundation, go to:


     https://www.openstoriesfoundation.org/

     For more information about Mormon Stories Podcast, go to:

     https://www.mormonstories.org/



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     The COP holds somewhat regular training meetings on “the leadership pattern.” In
     one such meeting, Henry B. Eyring, a trustee of EPA, stressed to all EPA/COP
     employees the paramount importance of only hiring “true and faithful servants.”
     Skills and abilities are subordinate. The more fully indoctrinated employees are, the
     easier they are to control in information-sensitive positions, decreasing the
     likelihood of leaks or whistleblower activity—this kind of Behavior-, Information-,
     Thought- and Emotion-control are branded at the COP as “the Lord’s way” of doing
     business. For a description of the BITE model, see:

     https://www.youtube.com/watch?v=Qq6ItDRtOKY

     46 This Anti-Bank quickly collapsed and created much economic hardship and

     disaffection in the early Mormon Church. For a primer on the Kirtland Safety Society
     Anti-Bank-ing Company, see:

     https://en.wikipedia.org/wiki/Kirtland_Safety_Society

     http://www.mormonthink.com/glossary/anti-banking.htm

     47 This perspective should be taken into account, when determining the methodology

     that the IRS should use to perform the “commensurate test.”

     The whistleblower doesn’t mean to suggest that dark money would be
     transferred/documented via GFS, as that system had several users; there would be
     more clandestine ways to get dark cash into foreign countries using technology and
     connections that are available to the COP and managed in other systems.

     48 The Mormon Church has lost several cases for inappropriate political activism,

     especially turning on LGBTQ issues, which also were exposed by whistleblower
     action.

     https://www.huffpost.com/entry/should-the-mormon-church-
     _b_13656738?guccounter=1&guce_referrer=aHR0cHM6Ly93d3cuZ29vZ2xlLmNvbS8&guce_r
     eferrer_sig=AQAAAHFgtE6aa1cxN3eg5mGU15BRopVtzmLvFiLpnQhNvxBbSLfa7P-u_qb5U-
     jDw9pmc_CDO1iqxl9hIhMnLQfQQaTh0xKader9XOIbRmNOHUjt5QwE1Ii5a3WTOOQf8mLQxf
     gFG4b1tqCOAdsY9azLfBbSOLqfBa-1l3JVO9fJPQ5K

     49 https://kutv.com/news/local/mormonleaks-says-new-documents-link-lds-

     church-to-companies-worth-over-32-billion

     50 https://mormonleaks.io/newsroom/


     https://mormonleaks.io/wiki/index.php?title=Investment_Portfolios_Connected_to_
     the_Mormon_Church



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     https://www.reddit.com/r/exmormon/comments/8n8dd3/mormonleaks_has_unco
     vered_13_llcs_limited/

     51 https://en.wikipedia.org/wiki/List_of_wealthiest_organizations#Religious_organizations


     52 https://www.sltrib.com/religion/2018/09/16/mormon-church/


     https://www.sltrib.com/news/2019/07/28/former-lds-bishop-sam/

     53 https://www.churchofjesuschrist.org/study/manual/gospel-principles/chapter-

     19-repentance?lang=eng

     54 https://archive.sltrib.com/article.php?id=2108746&itype=CMSID


     https://archive.sltrib.com/article.php?id=2122123&itype=cmsid

     “No Apology Meme” (featuring Star Wars sound track):
     https://www.youtube.com/watch?v=tUJns80itNE

     Thug Life Meme:
     https://www.youtube.com/watch?v=RGAd_ul-564

     LGBTQ discrimination vs religious freedom discussion with Mr. Oaks:
     https://www.youtube.com/watch?v=UIJ6gL_xc-M

     55 According to Mr. Jensen, “the head of the church, President Thomas Monson, who

     is considered a living prophet, has called the campaign ‘The Rescue,’ and [has] made
     it his signature initiative.”

     https://www.reuters.com/article/us-mormonchurch/special-report-mormonism-
     besieged-by-the-modern-age-idUSTRE80T1CM20120131

     The “Swedish Rescue,” as reported by the New York Times can be found here:

     https://www.nytimes.com/2013/07/21/us/some-mormons-search-the-web-and-
     find-doubt.html

     Some reasons why current members have left (and need to be “rescued”) can be
     found in what the Internet is calling “The CES Letter,” which can be read or
     downloaded here:

     https://cesletter.org

     56 “Church Releases Plans for Downtown Salt Lake,” Ensign, Dec. 2006, 76–80.


     57 Doug Smeath, “Downtown renovation project,” Deseret News, March 27, 2007.



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     58 https://www.youtube.com/watch?v=NcYjs6qbTDw


     Several Presidents of the COP have hidden from authority throughout Mormonism,
     especially touching polygamy, polyandry, requirements for Utah statehood, the first
     and second “Manifestos,” etc.

     59 https://www.churchofjesuschrist.org/study/ensign/2014/06/hastening-the-

     work?lang=eng




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            EXHIBIT A
EXHIBIT A




            Constructed by the whistleblower in 2019 using actual positions from Feb 2018.
            The “EPA Universe” figure in November 2019 is approximately $124 billion.
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            EXHIBIT B

            Ensign Peak Relationships
                        Affiliate Participants                         Separately-Managed Funds
            Church Education System                      DTC Deseret Trust Company
               `   BYU –Provo
               `   BYU – Idaho
               `   BYU – Hawaii
                                                                           Advisory Relationships
               `   Seminaries and Institutes
               `   LDS Business College               DMBA Deseret Mutual Benefit Administrators (DMBA)
            COP/CPB Entities
                    E titi                             BFG Beneficial Financial Groupp
               `   Temple Department
               `   Printing Services
               `   Beehive Clothing
               `   Distribution Services
               `   Humanitarian Aid
               `   LDS Charities
               `   Perpetual Education Fund
               `   Tabernacle Choir
            Church of Jesus Christ of Latter-day Saints
                Foundation
            Polynesian Cultural Center
            Farmland Reserve, Inc. ARI
EXHIBIT B




            In estment Property
            Investment Pr ert Mana
                                 Management,
                                       ement Inc.
                                               Inc IPM=PRI
            Bonneville Holding Corporation


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     EXHIBIT C
                                                                                                                         ARI = “AgReserves, Inc.”


                        Investment Structure
                                                                                                                       formerly known as “Farmland
                                                                                                                               Reserve, Inc”

                                                                                                                      PRI = “Property Reserve, Inc.”
                                                                                                                      formerly known as “Investment
                                                                                                                          Property Management”




    Contributions /                Church / CPB / COP / Other                                   Expenditures
                                                                                                                            Notice that the arrow
    Revenue                                                                                                              to ARI/PRI is not two-way;
                                                                                                                       they don’t have a supporting
                                                                                                                       role of CPB or COP; they are
                                                                                                                           black holes just getting
   Additional detail         Excess                                Cash Needs                                                      bigger.
                             Contributions
         COP
(no-interest checking
       account)                        Ensign Peak Advisors                                        ARI / PRI / Other
                      cash

 never-invested
                                   Principles:                                            Principles:
 tithing surplus       X           • Stewards over investment reserves of                 • Stewards over investment reserves of
                                   the church.                                            the church.
                                   • Active role in assisting cash                        • Act consistent with Church parameters.
                                   management.                                            • Balance growth and principal
EPA Treasury Account               • Act consistent with Church parameters.               protection.
                                   • Balance growth and principal                         • Consider strategic ownership.
   (better-interest                protection.
  savings account)                 • Maintain a liquidity buffer to
       commercial paper            accommodate organizational
                                   commitments and needs.



                       X

                EPA                Enterprise Asset Allocation:
                                   • Though stewardship has been delegated to different organizational, broad asset allocation
             Allocated             should contemplate all entities – both assets and liabilities. EP, ARI, PRI, DMC, other.
              Capital              • Risk management and performance monitoring grows in complexity with the number of
                                   organizational splits.
            (long-term             • EPA is the most scalable given pure investment focus. Other entities are operators as well.
            retirement             • EPA might need to take the lead on framing out church enterprise risk exposure.

             account)
               securities

   unlawful distribution #1: $600 million


unlawful distribution #2: $1.4 billion


     2012, Ensign Peak Advisors Master Plan, page 18

                                                                                                                      EXHIBIT C
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            EXHIBIT D
EXHIBIT D




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                                                                 EXHIBIT E.1
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 EXHIBIT E.2




                                                                 EXHIBIT E.2
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 EXHIBIT E.3




                                                                 EXHIBIT E.3
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EXHIBIT F.1
All 501c3’s are subject to a “commensurate test,” which requires them to conduct charitable activities
commensurate in scope with their resources. The idea is that donors fund charities to do charitable
works, not to amass a fortune with no clear plan of how the funds will be spent (see endnote 19).

The simplest to understand common-sense commensurate test should have two parts: 1) How active is
the organization, in general? 2) What fraction of the organization’s activity is religious, educational, or
charitable?

Part 1. The first part can be answered using a simple quotient:

                        !"#$% !"# !"#$%&'
!"#$% !"#$%$#& !"#$ =     !"#$% !""#$"


EPA’s Total Activity Rate has been 0% for the past five years. However, the IRS might choose to look at the
“whole church ecosystem” (COP/CPB/EPA/ARI/PRI/DMC/etc.) in calculating the Total Activity Rate.
Because tithing “tops off” all other budgets and the net tithing surplus flows to EPA, a best approximation
of the Total Net Outflow of the whole ecosystem would just be the Annual Tithing Received minus the
Annual Tithing Surplus to EPA. For the last 22 years, the church’s aggregate operational expenditures
have never exceeded Annual Tithing Received.

                        !"#$% !"# !"#$%&'       !""#$% !"#!!"# !"#"$%"& ! !""#$% !"#!!"# !"#$%"& !" !"#
!"#$% !"#$%$#& !"!" =     !"#$% !""#$"
                                            =                           !"#$% !""#$"

                            $" !"##"$% ! $" !"#!"#$
!"#$% !"#$%$#& !"#$!"#$ ≈        $"## !"##"$%
                                                      ≈ 3%

The above figures for 2019 are discussed on line 333 (page 20) and footnote xx (page 25). Again, these
numbers are unconfirmed. 3% is undoubtedly extremely low among churches and would certainly
disqualify any supporting organization in the church ecosystem from tax-exempt status were it classified
as a private foundation or a Type III non-FISO; some might argue that EPA behaves like the latter.

One would expect the Mormon Church to downplay the size of the denominator (as it so often does and not
even the IRS can verify). To pre-empt this, one can define an incontrovertible Upper Bound Activity Rate:

                                                                   !""#$% !"#ℎ!"# !"#"$%"& − !""#$% !"#ℎ!"# !"#$%"& !" !"#
!"#$% !"#$%$#& !"#$ < !""#$ !"#$% !"#$%$#& !"#$ =                              !"#$% !"#$%&'$"& !""#$" + !"#ℎ

                                         $" !"##"$% ! $" !"##"$%
!""#$ !"#$% !"#$%$#& !"#$!"#$ ≈ $"#$ !"#!"#$ ! $" !"##"$% ≈ 4.6%

The Total Assets2019 is surely more than the “reserve of the reserve” assets ($124 billion) together with
the Annual Tithing Received2019 (~$7 billion). Therefore, the Total Activity Rate2019 (must be less than
4.6%—it used less than 4.6% of its assets for any purpose.

Part 2. What fraction X of the Total Activity Rate was for Religious, Educational, and Charitable (REC)
causes? By definition less than 1—the church has many for-profit businesses and significant unrelated
business income.

Religious-Educational-Charitable (REC) Rate = Total Activity Rate x X

Religious-Educational-Charitable (REC) Rate < Upper Bound Activity Rate x X


                                                                                                  EXHIBIT F.1
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EXHIBIT F.2
EPA’s REC Rate = 0% x X = 0% in each of the past 22 years.

Regarding the whole church ecosystem, for illustrative purposes, if X were 0.80, then:

The “whole church ecosystem” REC Rate2019 < 4.6% x 0.80 (or less than 3.7%)

The commensurate test would be: If Ecosystem REC Rate < IRS Threshold, then FAIL; else OK. The IRS
needs to make known what their bright-line threshold is. The whistleblower strongly suspects that the
IRS Threshold would be something higher than 3.7% for a gigachurch, that the Total Activity Rate2019 is
closer to 2.4%, and that X2019 is closer to 0.5—yielding an Ecosystem REC Rate2019 closer to 1.2%. Such low
REC rates compelled the whistleblower to make this information public.

This is the result/formula that should be discussed in front of the Senate, with whatever numbers the
COP wants to stand behind and explain. If the COP does have additional hidden assets, the Ecosystem REC
Rate would be even lower. It is likely that given EPA’s current direction from the COP that, assuming the
markets do not crash, the Mormon Church’s Ecosystem REC Rate will continue to decrease until the
“Second Coming.”

Why should the public indirectly subsidize this behavior through tax breaks?

When EPA was “small” in 1997 (only $12 billion), the COP may or may not have been able to pass a
commensurate test. It would not likely be able to pass a commensurate test today. Further argument in
support of this assertion is to compare other growth rates with the “reserve of the reserve” growth rate.
Total church membership in 1997 had just surpassed 10 million. Today church membership is reported
to be 16.5 million (15.5% growth over 22 years). The “reserve of the reserves,” however, has grown by
933% over 22 years. Is that commensurate? This disparity is actually worse because, according to the
Pew Foundation, active membership is much less than the COP-published total membership and may be
declining.

The Latent Reserves Per Member is unprecedentedly and astoundingly large for the Mormon Church,
especially compared to any other church. This ratio has a fast-growing numerator and shrinking
denominator and is indicative of a worsening commensurate test. For example, with active membership
surely less than 5 million worldwide,

                                        $!"# !"##"$%
!"#$%# !"#"$%"# !"# !"#$"%!"#$ > ! !"##"$% !"!#"$% ≈ $25,000 !"# !"!#"$

What is this metric for other religions? Would any devout congregation honestly draw out from each of
its members $25,000 more (than what they were previously giving) knowing that nothing—charitable or
otherwise—would happen with the money until Christ might return? And while members wait, they are
told to not even inquire about whether the resources continue to exist. In some sense, for a religion to
pass the commensurate test, it should be comparable to other religions on some basic metrics, which the
IRS should consider as a subjective component to a commensurate test.

The whole church ecosystem has not grown anything near 933% over the past 22 years—not in terms of
universities, meetinghouses, missionaries, humanitarian aid, etc. For example, Mr. Oaks boasted that
outflows to humanitarian aid have stayed flat at $40 million per year for 20 years (line 183, page 12).
0% humanitarian aid growth and 933% asset growth are not commensurate.


                                                                                    EXHIBIT F.2
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              EXHIBIT G
                 The Role of Ensign Peak Advisors
                       ǯ                                       
                                ȋ ʹͲͳʹȌ
                                                                                  As stewards in the Lord’s
                                                                                                     Lord s storehouse
                                                                                                            storehouse, we manage
                We help individuals and families qualify for                      the investment reserves under the direction of the
                exaltation by helping members live the gospel                     First Presidency and the Presiding Bishopric.
                of Jesus Christ, gathering Israel through
                missionary work, caring for the poor and                          To do so, Ensign Peak Advisors has the following
                needy and enabling the salvation of the dead.
                needy,                                    dead                    objectives
                                                                                    j        and desired results:
                To do this, we will make gospel teachings,                        • Balance portfolio growth and principal
                resources, and services accessible to all in a                      preservation
                simple and affordable way.                                        • Maintain adequate liquidity for Church
                                                                                    operations and investment flexibility
                                                                                  • Add incremental return through active
                                                                                    management
                  ǣ                             • Maintain cost-efficient and secure operations
                                                  • Produce accurate and timely reports
                                                                                  • Provide investment alternatives and education to
            1) • Fund prophetic initiatives                                         affiliated entities and presiding councils
            2) • Supplement the operating budget                                  • Comply with appropriate legal and regulatory
            3) • Backstop the pension plan and affiliated                           conditions
                 entities                                                         • Avoid investments or activities that would
EXHIBIT G




            4) • Post collateral for Church operations                              d
                                                                                    detract   from
                                                                                              f     the
                                                                                                     h mission
                                                                                                          i i off the
                                                                                                                    h Church
                                                                                                                       Ch h



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              EXHIBIT H.1
               Fund Flows/Grants
                         /       Among
                                     g Church Entities
                                                                                                                               Utah Property
                                                                                                                               Management
                                                                                                                                Associates
              Expenses
                                                        Printing Services
                                                        Humanitarian Aid                            IPM
                                                        Beehive Clothing                                                      HRI*
                                    CPB                 Distribution Services                                SLR*
                                                        LDS Charities

                Donations                                                           Ensign                                           CCRI

                                      COP                                            Peak
                                                                                                                      FRI
                                                        Temple Dept
                                                                                   Advisors                                             ARI*
                                                        Tabernacle Choir
                              LDS                       Seminaries and
                                                          Institutes                  EP
                         Philanthropies                                                                                          Bonneville
                                                                                   Commingled                                   Holding
                                                                                                                                H ldi C Corp.
                                                                                     Funds
                      Deferred                                                                                       DMC
                      Gifts                                 Perpetual                                               Reserve
                                                          Education Fund                             PCC             Trust
                         Deseret
                          Trust
                         Company
                                                                                               Donations     Deseret Management Corp.*
                                                 BYU                             The Church of               •Bonneville International*
                                                                                                             •Beneficial Financial Group*
EXHIBIT H.1




                DTC Commingled Funds             BYU-I                           Jesus Christ of
                                                 BYU-H                          Latter-day Saints            •Deseret Book*
                Thrasher Foundation                                                                          •Deseret News Publishing*
                Donor Advised Funds                                g
                                                 LDS Business College              Foundation
                                                                                                             •Temple
                                                                                                              T    l SSquare HHospitality*
                                                                                                                                    i li *
                      Grants                                                                                 •Deseret Digital Media*
                                                                                   *Taxable entity

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              EXHIBIT H.2                                                                                             R = significant reserves

               Fund Flows/Grants
                         /       Among
                                     g Church Entities
                                                                                                                                   Utah Property
                                                                                                                                   Management
                                                           IPM = PRI = Property Reserve, Inc.                                       Associates
              Expenses
                                                        Printing Services
                                                        Humanitarian Aid                             IPM
                                                        Beehive Clothing                                             R         HRI*       R
                                    CPB                 Distribution Services                                 SLR*

                Donations
                                                        LDS Charities
                                                                                R Ensign                                  City Creek Reserve, Inc.
                                                                                                                                        CCRI

                                      COP                                            Peak                                            AgReserves, Inc.
                                                                                                                         FRI
                                                        Temple Dept
                                                                                    Advisors                                               ARI*
                                                        Tabernacle Choir
                                                                                                                               R                   R
                              LDS                       Seminaries and
                                                          Institutes                   EP
                         Philanthropies                                                                                             Bonneville
                                                                                    Commingled                                     Holding
                                                                                                                                   H ldi C Corp.
                                                                                      Funds
                      Deferred                                                                                        DMC
                      Gifts                                 Perpetual                                                Reserve
                                                                                                                                               R
                                                          Education Fund                              PCC             Trust         R
                         Deseret
                          Trust
                R        Company                                     R
                                                                                                Donations     Deseret Management Corp.*
                                                 BYU                              The Church of               •Bonneville International*
                                                                                                              •Beneficial Financial Group*
EXHIBIT H.2




                DTC Commingled Funds             BYU-I                            Jesus Christ of
                                                 BYU-H                           Latter-day Saints            •Deseret Book*
                Thrasher Foundation                                                                           •Deseret News Publishing*
                Donor Advised Funds                                g
                                                 LDS Business College               Foundation
                                                                                                      R       •Temple
                                                                                                               T    l SSquare HHospitality*
                                                                                                                                     i li *
                      Grants                                                                                  •Deseret Digital Media*
                                                                                    *Taxable entity

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            EXHIBIT
                Church Investment Governance Structure
                                         Council on Disposition of Tithes
                                             First         Presiding      Council of
                                          Presidency       Bishopric      the Twelve

                                         COP                     CPB

                                          Investment Policy Committee                     IPC
                                             First         Presiding       Invited
                                          Presidency       Bishopric       Others



                                          Investment Executive Committee

                                               Presiding                Invited
                                               Bishopric                Others




                                 ARI                      Investment PRI                 Ensign Peak   EPA
                          Farmland
                                                           Property                       Advisors,
EXHIBIT I




                         Reserve Inc
                         Reserve, Inc.
                                                        Management, Inc.                     Inc.
                      AgReserves, Inc.           Property Reserve, Inc
              5
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EXHIBIT J




                                                                Is EPA seriously
                                                              asking any potential
                                                            custodian/broker to verify
                                                         EPA’s credit worthiness and to
                                                      “Know EPA as a Client,” not through
                                                          financial statements, but by
                                                        checking in with the COP’s bank,
                                                          while the COP owns and/or
                                                             controls both EPA and
                                                                  Zions Bank?




                                                                       EXHIBIT J
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                                                                        EPA OAUM (Nov 2019)




                                                           Financial Crisis of 2008




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            EXHIBIT L
EXHIBIT L




            March 2013, “Framework and Exposures”
                                                     Total Investment Growth Rate = 6.6% + 0.8% = 7.4%
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    EXHIBIT M
EXHIBIT M




            ANTI-            BANK             ING
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         Recipient Country   '03     '04     '05     '06     '07     '08     '09     '10     '11     '12     '13     Total
Brazil                         -      36.3    24.7   488.3   237.1   237.8   211.9   220.9   244.4   220.5   256.7   2,178.5
Mexico                         -      19.4   140.1   130.4   116.0   123.2    75.5   101.4   109.1   107.3   121.5   1,043.9
Argentina                      6.9    59.4   232.7   147.1    46.6    49.6    34.2    34.8    60.0    68.7    74.0     813.9
Peru                           0.4    39.2    40.4    40.6    41.6    48.2    41.9    52.0    56.3    72.9    82.9     516.6
Chile                         19.1    53.1    79.6    68.5    58.4    52.9    49.1    34.9    38.8    42.1    40.8     537.3
Philippines                    0.1    33.3     -      83.4     -      32.3    64.9    54.0    64.6    60.2    65.6     458.3
Guatemala                      6.1    21.7    27.1    38.2    31.1    29.2    25.6    36.2    40.3    37.5    34.3     327.2
United Kingdom                16.0    34.3    21.4    12.8    45.9    26.8    23.3    15.2    21.0    39.9    50.1     306.7
Japan                          -      18.5    21.7    34.8    46.9    23.5    17.5    52.9    14.5    17.9    13.1     261.4
Germany                        -       -       1.2     2.6    34.1    32.6    22.9    32.5    27.1    41.5    46.1     240.6
New Zealand                    5.2    14.7    19.6    17.9    21.5    24.2    23.5    17.5    11.5     7.1    26.2     189.0
Dominican Republic             -      18.6    20.1    21.8    17.4    18.1    19.4    16.0    18.2    21.6    17.6     188.9
Nigeria                        2.1    11.8    18.2    23.2    20.7    15.7     9.5    13.5    14.4    23.1    26.5     178.6
Samoa                          -       4.7    25.5    14.7    22.2    23.6    12.6    10.0    19.9    17.2    19.5     169.9
South Africa                   -       -      14.7    18.0    19.9    16.4    14.0    20.1    22.7    18.9    24.1     169.0
Colombia                       -       -       -       -      24.8    26.7    20.4    18.6    23.6    22.7    19.8     156.5
Spain                          -       -       0.1     0.1    16.3    22.3    16.7    20.9    12.6    22.0    35.2     146.1
Honduras                       6.4    10.6    14.2    12.8    13.1    17.5    11.5    16.6    16.6    19.3    17.7     156.3
Congo                          -       0.2     2.3     2.1     9.0    10.4    13.5    20.4    21.6    20.9    32.0     132.4
Italy                          -       -       0.2     0.7     6.6     5.3     7.5    13.4    15.9    25.4    52.8     127.9
Hong Kong                      -       8.2    17.3    12.8    33.6    10.2    17.8     9.7     4.9     1.7     9.0     125.2
Russian Federation             -       -       -       -      18.8    27.5    19.0    21.0    15.0    15.3     8.1     124.7
Ukraine                        -       -       -       -      13.1    24.4    31.0    30.4    10.5     7.1     2.9     119.5
France                         -       -       1.3     7.7     9.2     7.1     6.2     2.4    36.2     9.3    25.4     104.9
El Salvador                    -       -       -       -       7.2    30.2    19.0    18.8    16.5    10.1    12.5     114.3
Uruguay                        -      13.5    23.8    16.4    16.1    11.1     7.4     4.8     6.6     4.6     6.9     111.2
Tonga                          -       2.1    18.5    12.9    12.5    12.1    10.2     9.4     9.8    12.2    10.7     110.5
Korea                          -       -       -       -      16.2    16.7     3.1     4.2    14.7    12.4    38.3     105.6
Ghana                          0.4     -       -       4.8    16.5     9.4     7.6    10.7    13.6    14.9    21.3      99.2
Venezuela                      -      10.6    11.4    10.6     9.3     9.9     5.2     6.3    11.5    10.6    12.9      98.2
Australia                     20.5    41.5    27.0    18.2     -       2.8     0.7     -       -       0.0     0.0     110.6
Paraguay                       0.8     7.4     8.8     8.6     9.5    12.2     9.4     6.0     4.3     6.5    10.0      83.5
Nicaragua                      2.9     4.8     4.8     9.3    12.7    10.5     4.6     9.3     7.4     7.7     8.3      82.4
Bolivia                        -       8.6     -       -      10.6    10.0     8.1     7.6    10.2    11.9    12.1      79.2
Ecuador                        -       -       -       -      11.8    11.2     9.6     8.1     9.0    11.4    12.1      73.0
India                          -       -       -       0.7    12.0     4.0     3.5     5.5     3.5    35.6     6.2      70.8
French Polynesia               -       3.7    14.4    15.4    13.8     6.4     3.8     0.4     0.5     1.7     7.5      67.6
Costa Rica                     0.5     2.6     3.4     6.2     7.0     6.7     5.1     8.4     6.9    10.1     4.0      60.8
Fiji                           -       2.6     5.4     8.3     6.2    13.4     5.6     2.4     5.3     4.8     4.9      59.0
Panama                         -       -       -       -      17.3    13.9     7.0     3.9     3.3     4.0     5.0      54.4
Portugal                       -       -       -       -       6.5     5.9     3.8     2.9     5.3    21.3     8.4      54.1
Thailand                       -       1.5     2.6     4.9    22.8     4.4     3.9     4.0     3.4     2.5     2.0      51.9
Taiwan                         -       -       -       -       9.8    11.4    10.5     -       0.5    11.9     2.0      46.1
Kenya                          -       1.5     3.4     2.9     4.0     5.3     5.3     5.9     3.0     8.0     6.3      45.7
Papua New Guinea               -       -       6.1     4.6     1.4     2.3     2.5     3.3     5.1     5.2     6.9      37.5
Zimbabwe                       -       0.8     1.8     2.0     1.2     2.6     2.1     5.1     8.0     7.9     5.1      36.6
Sweden                         1.8     4.3     5.6     5.4     1.3     3.3     2.1     1.1     2.3     5.6     3.4      36.2
Kiribati                       -       0.5     2.1     4.5     3.0     2.7     3.1     2.5     3.4     7.0     4.9      33.5
Uganda                         -       0.3     1.1     1.0     1.4     3.9     3.1     3.2     6.3     4.6     7.5      32.4
Singapore                      -       1.9     6.8     8.1     4.3     8.0     0.2     0.5     2.1     -       -        31.9
Haiti                          -       1.7     1.9     2.0     2.4     2.5     3.2     3.0     2.2     2.7     6.1      27.6
Puerto Rico                    -       -       -       -       5.3     6.4     4.3     2.0     4.0     2.8     2.5      27.2
Madagascar                     -       -       0.6     0.7     1.4     2.7     1.8     2.6     7.8     4.6     4.3      26.5
Cambodia                       -       -       -       -       3.5     3.8     3.5     2.8     3.4     3.8     4.0      24.7
Côte D'Ivoire                  -       0.7     1.1     1.1     2.8     3.7     2.5     2.7     0.5     4.4     4.6      24.0
Hungary                        -       -       1.9     1.7     2.1     3.2     2.0     1.9     2.3     3.6     4.3      22.9
Malaysia                       -       -       -       -       2.1     0.8     0.4     2.1     8.4     3.4     1.6      18.7
Mongolia                       -       -       -       -       1.6     2.2     1.9     6.9     1.6     1.4     2.5      18.1
Sierra Leone                   0.0     0.6     0.9     1.3     1.1     1.1     0.9     1.6     1.3     2.4     5.7      17.0
Denmark                        8.1    16.6     1.8     1.2     0.1     0.1     0.4     -       -       0.1     0.6      29.1
Vanuatu                        -       0.2     2.4     1.2     0.9     1.2     1.4     1.3     1.6     3.6     2.7      16.5
Mozambique                     -       -       -       -       1.8     2.1     2.5     2.0     2.3     3.0     2.3      16.0
Finland                        -       -       0.2     0.1     0.3     2.5     0.9     3.3     0.3     2.2     5.9      15.7
Jamaica                        -       1.7     1.3     1.6     2.5     1.2     1.4     1.3     0.8     0.7     1.1      13.7
Netherlands                    -       -       -       -       0.5     1.0     0.2     -       0.7     2.2     8.5      13.1
Poland                         -       -       0.9     1.2     1.6     1.5     1.4     2.8     1.3     0.8     1.5      13.0



                                                                                                 EXHIBIT N.1
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Ethiopia                              -       0.3     0.5       0.2       0.6       1.9     2.4       1.4       3.0       0.6       1.4       12.2
Romania                               -       -       -         -         1.4       1.6     1.6       2.0       1.7       1.6       1.8       11.7
Indonesia                             -       -       -         -         1.4       1.8     1.6       1.3       1.2       1.4       1.4       10.1
Guyana                                -       -       -         1.0       1.8       1.9     0.9       0.9       1.8       0.9       0.4        9.7
Zambia                                -       -       0.1       0.8       1.2       1.4     0.8       0.9       1.5       1.2       1.3        9.3
Bulgaria                              -       -       -         -         1.4       2.2     1.7       1.2       1.0       1.0       0.7        9.4
Botswana                              -       -       -         0.1       0.4       1.2     2.5       3.1       0.7       0.4       0.7        9.1
Trinidad And Tobago                   -       0.3     0.3       0.6       0.8       0.7     1.5       0.5       0.9       0.6       1.4        7.7
Saint Lucia                           -       -       -         -         0.8       2.1     3.3       1.6       0.1       -         -          7.9
Liberia                               -       0.1     0.2       0.2       0.6       0.6     0.6       0.4       0.9       1.3       2.5        7.3
Sri Lanka                             -       -       -         -         2.0       1.9     0.7       2.2       0.3       0.2       0.2        7.5
Togo                                  -       0.0     0.1       0.1       0.1       0.1     0.1       1.6       2.0       2.1       1.1        7.4
Tanzania                              -       4.2     0.6       0.3       0.3       0.2     0.2       0.2       0.4       0.3       0.3        7.3
Canada                                -       -       -         -         -         0.5     1.0       1.1       1.1       1.8       1.0        6.5
Belgium                               -       -       -         -         1.0       0.8     0.7       1.3       0.8       0.1       1.7        6.4
New Caledonia                         -       0.5     0.9       0.4       2.1       0.5     0.2       0.1       0.1       0.5       0.8        6.1
Cape Verde                            -       -       -         -         0.4       0.4     0.4       0.4       1.3       1.3       1.7        5.9
Croatia                               -       -       -         -         0.1       1.9     -         -         0.2       2.4       0.9        5.5
Czech Republic                        -       -       0.3       0.4       0.7       0.5     0.5       0.6       0.6       0.6       1.1        5.5
Pakistan                              -       -       -         -         0.4       0.8     0.6       0.7       0.8       1.1       0.8        5.2
Switzerland                           0.0     3.1     0.4       0.1       0.6       0.7     0.4       -         -         -         -          5.3
Cameroon                              -       -       -         0.2       0.7       1.0     1.1       -         0.4       0.7       0.8        4.9
Malawi                                -       0.8     0.8       0.2       0.1       0.2     0.3       0.4       0.3       0.6       0.8        4.5
Réunion                               -       0.1     0.3       0.3       0.2       1.4     1.3       0.2       0.1       0.3       0.2        4.3
Guam                                  -       -       -         -         1.0       0.7     0.5       0.5       0.8       0.2       0.4        4.1
Benin                                 -       0.0     0.1       0.1       0.1       0.1     0.2       0.2       1.0       0.5       1.1        3.3
Solomon Islands                       -       -       0.0       0.0       0.2       -       0.1       0.1       0.9       1.0       0.9        3.2
Antigua And Barbuda                   -       -       -         0.1       0.9       0.7     0.3       0.9       -         -         -          3.0
Angola                                -       -       -         -         -         -       0.2       0.0       0.2       0.7       1.7        2.8
Rwanda                                -       -       -         -         -         -       -         0.5       0.5       0.8       0.7        2.6
Niger                                 0.2     0.6     0.6       0.2       0.3       0.2     0.1       -         -         -         -          2.3
Viet Nam                              -       -       -         -         -         -       -         0.7       0.4       0.6       0.3        1.9
Serbia                                -       -       -         -         0.1       0.2     0.1       0.1       0.3       0.4       0.5        1.7
Mauritius                             -       -       0.0       0.0       0.2       0.9     0.0       0.1       0.1       0.1       0.1        1.5
Burundi                               -       -       -         -         -         -       -         0.1       0.4       0.5       0.1        1.1
Nepal                                 -       -       -         -         -         0.1     0.1       0.2       0.2       0.2       0.2        1.0
Lao People's Democratic Republic      -       -       -         -         0.0       -       -         0.1       0.2       0.2       0.3        0.9
Swaziland                             -       -       -         -         -         0.0     0.0       0.5       0.1       0.1       0.1        0.9
Albania                               -       -       -         -         0.1       0.6     0.2       0.0       -         -         -          0.9
Jordan                                -       -       -         -         -         -       0.3       0.4       0.2       -         -          0.8
Suriname                              -       -       -         -         0.2       0.2     0.0       0.1       -         0.2       0.1        0.8
Ireland                               -       -       -         -         -         -       -         -         -         -         0.8        0.8
Israel                                -       -       -         -         -         -       -         -         0.5       0.2       -          0.7
Aruba                                 -       -       -         -         -         -       -         -         -         0.4       0.3        0.7
Saint Vincent And The Grenadines      -       -       -         -         0.0       0.1     0.2       -         -         0.1       0.1        0.6
Luxembourg                            -       -       -         -         -         -       -         -         0.0       0.6       0.0        0.6
American Samoa                        -       -       -         -         -         -       -         -         -         -         0.6        0.6
Norway                                -       -       0.3       0.2       0.1       -       -         -         -         0.0       0.0        0.6
China                                 -       -       -         -         0.2       -       -         0.2       -         -         0.1        0.5
Guadeloupe                            -       -       -         0.0       0.1       0.4     0.0       -         -         -         -          0.5
Sudan                                 -       -       -         -         -         -       -         0.1       0.2       0.2       -          0.5
Barbados                              -       -       0.3       0.0       0.0       -       -         0.1       -         -         -          0.5
Central African Republic              -       -       -         -         -         -       -         0.0       -         0.1       0.1        0.3
Lesotho                               -       -       -         -         0.1       -       0.0       0.0       0.0       0.1       0.1        0.4
South Sudan                           -       -       -         -         -         -       -         -         -         0.1       0.3        0.4
Namibia                               -       -       -         -         -         -       0.0       0.1       0.1       0.1       0.0        0.4
Iceland                               -       -       -         -         0.0       0.1     -         -         -         0.0       0.1        0.2
French Guiana                         -       -       0.1       0.0       -         0.2     -         -         -         -         -          0.2
Austria                               -       -       -         -         -         -       -         -         -         -         0.2        0.2
Slovakia                              -       -       -         -         -         -       -         0.0       -         0.1       0.0        0.1
Slovenia                              -       -       -         -         0.1       0.0     -         -         -         -         -          0.2
Grenada                               -       -       -         -         0.1       0.0     0.1       -         -         -         -          0.2
Cook Islands                          -       -       -         -         -         -       -         -         -         0.0       0.1        0.2
Turks And Caicos Islands              -       -       -         -         -         -       0.1       0.1       -         -         -          0.1
Tuvalu                                -       -       -         -         -         -       -         -         0.0       0.0       -          0.1
Dominica                              -       -       -         -         -         -       0.0       -         -         -         -          0.0
                     Annual Totals   97.5   524.2   888.3   1,341.2   1,191.7   1,202.7   991.9   1,062.6   1,147.7   1,242.7   1,412.1   11,102.5



                                                                                                                 EXHIBIT N.2
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EXHIBIT O.1
On Fri, Oct 28, 2016 at 4:01 PM, [the whistleblower]1 wrote:

Rob/Roger,

Thank you for listening. I am glad that you agree this is a material
problem and needs to be fixed. In my view, however, this problem is far
more than just a bad practice that needs correcting. The question, “how
material” has yet to be addressed. I understand we have a fiduciary duty
to try and put some structure around the question of materiality so that
the internal auditors, the Presiding Bishopric, and potentially the First
Presidency have transparency here. As you said to me after I raised this
to your attention, if any firm where either of us have worked previously
were to have done these things, heads would roll—especially after
discovering that the practice had been identified but was allowed to
continue.                                                                        Comment [1]: Later I learned
                                                                                 that the practice had been
We need to understand the size of the potential loss, and not only just          stopped after the ARS Warrants
because at this point fraud cannot be ruled-out. More fundamentally, the         issue was raised by me, but then
size of the loss is unknown. At this point, if the First Presidency or           the practice resumed when the
Presiding Bishopric were to ask what is the size of the loss, the only           SimCorp system was put in place.
honest answer would be, “We do not know.” Were they to ask how long              This practice wasn’t allowed to
this practice has been going on, the only honest answer would be, “For
                                                                                 continue. It was stopped and then
as long as XXXXXXXXXX1 has been doing this job,” which may be more
                                                                                 quietly started again later…
than a decade by now, maybe more as I understand. Were they to ask
when was this problem first identified, the answer as far as I know is at        Comment [2]: The potential
least 5 years (to my knowledge). It could be significantly longer; I             mechanism for fraud here is that
cannot say as I came to the firm in 2010. Evidence might indicate the            a Payor could fail to send money
problem was known by some, and at least to XXXXXXXXXX1, far earlier.             to the Payee (EPA), and if the
                                                                                 Payee’s employee deletes the
Background for Roger: If you recall, I brought this up several years ago. I      receivable then no “breaks” show
was curious as to whether or not I had received the declared payment             up when accounts are
on the ARS GDP Warrant2 position held in EMD.3 At the time we didn’t             reconciled—leaving the Payor
have anyone checking for payments not received for funky positions like          economically advantaged and
these and I felt impressed to look into it, especially considering that          leaving auditors without a paper
these warrants are declared and paid 12 months after the economic                trail.
growth factor had been determined by Argentina. After much
investigating on my part, we were able to determine that payment had             Comment [3]: After the
been made by the calculating agent and that our Custodian (JPM4 at the           committee did its work, Rob made
time) had been sitting on the funds and had failed to apply them to our          an announcement in a weekly
account. But for my curiosity and a slow afternoon, EMD3 would have              devotional meeting (usually first
failed to receive what amounted to roughly 1,000,000 USD. Concerned              meeting of the week) that the
about the insufficient controls around pending cash receipts, I brought          findings confirmed that no money
this up. I certainly didn’t want the process to rely on a PM’s5 curiosity as     was lost and it was “all accounted
the safeguard to payments not applied by a custodian. At the time I was          for”. I talked to Rob and Jeff after
told this was a one-time error, was thanked for catching it (else EMD3           about that representation and
                                                                                 stated that his pronouncement
1 Identity masked                                                                was an over-statement that could
2 Argentine Gross Domestic Product Warrant (ARS GDP Warrant)                     not possibly be known to be true.
3 Emerging Market Debt (EMD fund)                                                I was asked to let it go and trust
4 J.P. Morgan Chase (JPM)                                                        the findings.
5 Portfolio Manager (PM)




                                                                                           EXHIBIT O.1
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EXHIBIT O.2
would have been out the million) although slightly different case, still
identified control issue. I was told this was a one-time issue, a good
catch, and nothing to see here. It is evidentially not a one-time issue, but
a common, weekly practice. We cannot say we are just becoming aware
of this and that it has had limited affect. YYYYYYYYYY1 tells me that he
brought it up to auditors 5 years ago and that people looked the other
way. I understand he tried to get this elevated past Don Clouse and the
church’s independent auditors at that time. Did it make it to Mark
Steven’s hands? How could he have signed off on this practice? More
likely, he didn’t actually know about it, never making it to his attention.      Comment [4]: I repeatedly asked
Furthermore, apparently Don knew about this practice when we were                Rob and Roger whether they had
using the PORTIA system for accounting, made some change to                      disclosed this issue to the client. I
XXXXXXXXXX’s1 access, only to revert to the same bad practice with the           never got a straight answer.
new SimCorp6 accounting system subsequently put in place. Did you
                                                                                 Comment [5]: From this I knew
know about this? Apparently the practice was identified and then let
                                                                                 that Carey Woolsey, the firm’s top
continue after it had been raised to auditors. If only one could represent
                                                                                 accountant, was confirming my
this as a one-time issue.
                                                                                 suspicion that not all was
BNY7 just going through a new reconciliation process…hard to dig up              accounted for as Rob Nydegger
old records. From Carey, “The following two coupon payments have not             later asserted in the weekly
been received for EMD.3 We believe that money may be at BNY-Mellon,7             devotional.
lost in their custody reconfiguration.”                                          Comment [6]: As I recall, Mark
                                                                                 Stevens was the senior auditor for
Mark Stevens…did he know? Was this disclosed to him?                             Deloitte who ‘blessed’ the pooled
                                                                                 funds carrying BYU’s endowment.
Student Loans ABS,8 breaking the buck, was it disclosed then?                    Deloitte had to audit BYU’s
                                                                                 investments in the pooled funds,
From: Michael Connors                                                            but the COP didn’t want Deloitte
Sent: Thursday, October 27, 2016 10:57 AM                                        to see the size of the entire
To: [whistleblower] <[whistleblower]@ensignpeak.org>; Robert
                                                                                 funds/portfolio as they were co-
Nydegger <Robert.Nydegger@EnsignPeak.org>
                                                                                 mingled with Ensign Peak money.
Cc: YYYYYYYYYY1 <YYYYYYYYYY@ensignpeak.org>
                                                                                 So rather than let Deloitte look in
Subject: RE: Banco industrial qtr payments
                                                                                 to verify the assets, they leaned
Wow, really shows lack of understanding of the significance of the issue         on Mark Stevens (as he was a
here…                                                                            trusted Mormon insider) to sign-
                                                                                 off that the value of their portion
Michael Connors | ENSIGN PEAK ADVISORS, INC.                                     was covered. Eventually Deloitte
Director Fixed Income                                                            got uncomfortable with the
60 E South Temple, Suite 400 | Salt Lake City, UT | 84111                        arrangement (probably for
801.715.0138 (Office)                                                            obvious reasons) and wouldn’t
917.330.1034 (Mobile)                                                            allow Mark’s sign-off to suffice
michael.connors@ensignpeak.org                                                   any longer. Soon after the Affiliate
                                                                                 Portfolios were created to ensure
From: Robert Nydegger                                                            the Deloitte auditors wouldn’t
Sent: Thursday, October 27, 2016 10:56 AM                                        have to see anything beyond the
                                                                                 BYU endowment net asset values.
6 SimCorp Dimension (SCD) is an integrated investment management                 Shortly thereafter, Mark Stevens
solution used by EPA for back-office and accounting purposes.                    was called away as Mission
7 Bank of New York Mellon (BNY-Mellon or BNY)                                    President to the England London
8 Asset-backed securities (ABS)                                                  Mission.



                                                                                           EXHIBIT O.2
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EXHIBIT O.3
To: Roger Clarke <Roger.Clarke@ensignpeak.org>
Cc: [whistleblower] <[whistleblower]@ensignpeak.org>
Subject: FW: Banco industrial qtr payments

[whistleblower] – thanks for bringing this to our attention. I agree with
you. We will fix it.

From: [whistleblower]
Sent: Thursday, October 27, 2016 10:47 AM
To: Robert Nydegger <Robert.Nydegger@EnsignPeak.org>
Cc: Michael Connors <michael.connors@ensignpeak.org>;
YYYYYYYYYY1 <YYYYYYYYYY@ensignpeak.org>
Subject: FW: Banco industrial qtr payments

XXXXXXXXXX1 replied after I had printed off the prior correspondence
(which you have, Rob).                                                          Comment [7]: When I first
                                                                                received XXXXXXXXXX’s email I
I think XXXXXXXXXX’s1 reply solidifies the fact that we are doing               printed it off and went
WORST-PRACTICES in this regard with zero controls and                           immediately to Rob Nydegger’s
understanding. ‘But to carry payments in the system that were never             office to confront the issue again.
received is not helpful info for anyone’? I think we need to take this back     Thinking the issue had been fixed
to formula…                                                                     years prior, I rang the bell as soon
                                                                                as I discovered the bad practices
From: XXXXXXXXXX
                                                                                were continuing. Once I dropped
Sent: Thursday, October 27, 2016 9:35 AM
                                                                                the word ‘fraud’ in the meeting,
To: [whistleblower] <[whistleblower]@ensignpeak.org>
                                                                                everything got tense and I was
Subject: RE: Banco industrial qtr payments
                                                                                thanked for bringing it up but was
I’ll be happy to put the payments back if they do show up. But to carry         pushed out of the loop.
payments in the system that were never received is not helpful info for
anyone.

From: [whistleblower]
Sent: Thursday, October 27, 2016 9:30 AM
To: XXXXXXXXXX1 <XXXXXXXXXX@ensignpeak.org>
Cc: ZZZZZZZZZZ1 <ZZZZZZZZZZ@ensignpeak.org>
Subject: RE: Banco industrial qtr payments

Remove the payments from SCD?6 I’m sorry, but I remain confused. So if
we don’t receive payments from someone then we simply remove them
from the system? Am I missing something here?

From: XXXXXXXXXX1
Sent: Thursday, October 27, 2016 9:27 AM
To: [whistleblower] <[whistleblower]@ensignpeak.org>
Cc: ZZZZZZZZZZ1 <ZZZZZZZZZZ@ensignpeak.org>
Subject: Banco industrial qtr payments

As near as I can tell EMD3 has not been paid the quarterly payments for         Comment [8]: This Banco
45605PAD0. I don’t know what more I can do or who to contact with               Industrial was a position I had
regards to this. I’ll remove the payments from SCD.6                            bought in EMD.



                                                                                          EXHIBIT O.3
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                                            The aggregate NAV of 12 (of 13) 13Fs at year-end 2017 was $31.9 billion.
                                            Two months later, with some market fluctuation, it was $31.4 billion.
              EXHIBIT P




                                                                                                    *
                                           *               *                          *
EXHIBIT P




              footnote r
              Exhibit R.3
              Constructed by the whistleblower in 2019 using actual positions from Feb 2018.
              The “EPA Universe” figure in November 2019 is approximately $124 billion.

            * Externally managed assets; also, approximately 50% of “Private Equity” is also externally managed.
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The compound annual growth rate (CAGR) for EPA’s “owned assets under management” (OAUM) was
pegged to two values: 1) the reported OAUM from year-end 1996, which was $10 billion (Exhibit K), and
2) the whistleblower’s OAUM for year-end 2017, which is very close to the OAUM corresponding to
February 2018 shown in Exhibit A. The EPA OAUM CAGR was therefore 10.49%.

The tax bill to the IRS can be computed using one of two methods: 1) EPA should make annual excise
payments for not having distributed the minimum “distributable amount,” and 2) EPA should have paid
capital gains tax in each of the last twenty-two years since it should not have been classified as a 501c3.

Method 1 “Excise Payments.” A foundation’s distributable amount in a given year is its investment
return in that year, or 5% of its invested assets, whichever is greater. An excise payment in year i, Ei, is
30% of the distributable amount for that year. In this model, the investment returns are always greater
because EPA’s investment-return CAGR was 7.4% year-over-year.

              !.!%
!! = 30% × !".!% !"#$! − !"#$!!!                                                                             (1)

Compounding each Ei annually using the IRS mandated rate yields the following table:




It is clear that if treated like a regular (non-religious) private foundation, then the sum of all excise taxes
(for not making minimum distributions) would be $18.5 billion. The total mandatory interest on those
excise payments would be $7.6 billion. The total tax bill would then be $26.1 billion.




                                                                                       EXHIBIT Q.1
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Method 2 “Capital Gains Tax.” The OAUM in any given year is the OAUM of the prior year plus
investment returns R in that year plus contributions C in that year minus any capital gains tax T paid for
the prior year, as in equation (2).

!"#$! = !"#$!!! + !! + !! − !!!!                                                                          (2)

The investment return in a given year is the prior year’s OAUM multiplied by the fraction of the CAGR
attributed to investment growth (Exhibit L).
     !.!%
!! = !".!% × !"#$ × !"#$!!!                                                                               (3)

The annual contribution (from tithing surplus) in a given year is the prior year’s OAUM multiplied by the
fraction of the CAGR attributed to contribution growth (Exhibit L).
     !.!%
!! = !".!% × !"#$ × !"#$!!!                                                                               (4)

The capital gains tax payment associated with a given year is the capital gains tax rate t times the
investment return for that year.

!!!! = !!!! × !                                                                                           (5)

Algebra and simplification yield:
                                !.!%
!"#$! = !"#$ × !"#$!!! − !".!% × !"#$ × !!"#!!! × !                                                       (6)




The difference between EPA’s actual OAUM at year-end 2019 (with t = 0%) and the hypothetical OAUM at
year-end 2019 (with t =15%) is $18.4 billion. This is a good first-order approximation for the present
value of the summed minimum amounts that the IRS should have received from EPA over the past 22
years, in terms of capital gains tax.

This figure does not include any of the penalties that the IRS could and should apply to each year’s missed
payment nor does it include the associated mandatory interest.

Alternatively, one can compute the nominal evaded capital-gains tax payment for each year and add the
25% tax penalty. One could then compound that sum annually using the published short-term interest
rate, which results in the following table:




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The sum of the nominal evaded tax payments would be $9.3 billion. The sum of the maximum tax
penalties would be $2.3 billion. The sum of the mandatory interest payments (with associated penalties)
would be $4.7 billion. The total tax bill would then be $16.3 billion. This alternative approach to Method 2
is slightly lower than the first approach because the short-term interest rate has been relatively low since
2009.

However, each of the above methods only takes into consideration the economic impact to the IRS for not
behaving like a charitable organization. There is also an economic impact to the public for not behaving
like a charitable organization.

How large would EPA be today if it had made 5% annual distributions (which is required of all private
foundations)?

Assume that the annual historical contributions are unchanged. The absolute contributions are calculated
using equation (7).
     !.!%
!! = !".!% × !"#$! − !"#$!!!                                                                             (7)

Assume that the overall investment growth rate is unchanged at 7.19%.

 7.4%         7.4%
      !"#$ =       10.49% = 7.19%
10.8%        10.8%




                                                                                    EXHIBIT Q.3
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The adjusted-OAUM (or OAUM') for each year is defined as 95% of the previous year’s OAUM' which then
grows according to the overall investment growth rate and then includes that year’s (absolute) annual
contribution.
                                    !.!%
!"#$!! = 95% × !"#$!!!
                   !
                       × 1 + !".!% × !"#$ + !!                                                           (8)

EPA’s OAUM' would be $32.4 billion today if it had been making 5% annual distributions for religious,
educational, or charitable purposes—approximately $66.61 billion less than EPA’s current OAUM of $99.1
billion.




This $66.6 billion is the present value of the minimum charitable good that the public expected EPA to
have done with its 501c3 status. For a more in-depth discussion about the IRS’s “commensurate test,” see
Exhibit F and endnote 20 (page 33).

The irony here is that EPA could have been doing minimal charitable work (5%), and still enrich itself
considerably and indefinitely. Are COP leaders concerned that the Messiah might castigate the COP for
garnering less than a consistent two-digit financial return? With real charitable work in the balance, one
might fear the opposite at a day of reckoning.



1 What a coincidence! (Revelation 13:18)



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              EXHIBIT R.3

              Strategic/Core Portfolio Exposures


                Core Portfolio Exposures
                                                    Target             Range
                         Equity
                          q y                         60%              55-65%
                         Operating Cash                2%               2%+
                         Fixed Income                 38%              33-43%
                                                     100%


                Liquidity (liquidation within 3-months)                75%+
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              EXHIBIT R.4

               Portfolio Structure & Allocation
                Active vs. Passive Management
                                                               Target                 Current
                         Active Fundamental                     80%                     89%
                         Rule Based                             20%                     11%
                                                               100%                    100%



                Internal vs. External Management
                                                                Min/Max               Current
                         Internal Minimum                        75%                    79%
                         External Maximum                        25%                    21%
                                                                100%                   100%
EXHIBIT R.4




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